               Case 21-51183-CTG             Doc 221    Filed 11/06/23    Page 1 of 90




                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

     In re:                                               Chapter 7

     NOBILIS HEALTH CORP., et al.,1                       Case No. 19-12264-CTG

                                Debtors.                  Jointly Administered
     _______________________________________
     ALFRED T. GIULIANO, in his capacity as
     Chapter 7 Trustee for the jointly administered
     bankruptcy estates of Nobilis Health Corp., et
     al.,                                                 Adv. Pro. No. 21-51183-CTG

                                Plaintiff,                Related Doc. Nos. 181, 201, 203, 207
                           v.
                                                          FILED UNDER SEAL
     HARRY J. FLEMING, et al.,

                                Defendants.

              PLAINTIFF’S OMNIBUS MEMORANDUM IN OPPOSITION TO
                DEFENDANTS’ MOTIONS FOR SUMMARY JUDGMENT


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Date: November 6, 2023



1
       Debtors are: Northstar Healthcare Holdings, Inc., Case No. 19-12262; Northstar Healthcare
Acquisitions, L.L.C., Case No. 19-12263; and Nobilis Health Corp., Case No. 19-12264.
                        Case 21-51183-CTG                    Doc 221          Filed 11/06/23             Page 2 of 90




                              TABLE OF CONTENTS
TABLE OF AUTHORITIES ......................................................................................................... iii
I.        INTRODUCTION ................................................................................................................... 1
II. COUNTERSTATEMENT OF THE FACTS .......................................................................... 2
     A. Nobilis Was a Publicly Traded Healthcare Company That Experienced Substantial
     Growth Through Acquisitions..................................................................................................... 2
     B. Defendants’ Roles Within the Company ............................................................................. 3
     C. The Nobilis—BBVA Lending Relationship ........................................................................ 5
     D. Nobilis’s Financial Reporting and Critical Accounting Policies ......................................... 6
          1.      Sarbanes-Oxley (SOX) Act of 2002 – Nobilis’s SOX Initiatives .................................... 6
          2.      The Company’s Policy of Writing Down to $0 365+ AR ............................................... 9
          3. Nobilis’s Policy of Writing Down to $0 365+ AR Was Well-Known to Nobilis’s
          Auditor and Management ...................................................................................................... 10
     E. Defendant Fleming Formed a Revenue Recognition Committee to Manage a Critical
     Accounting Function, yet Defendants Abdicated Their Collective Responsibilities to
     Implement and Monitor That Function ..................................................................................... 15
     F. In the Face of Poor 2017 Q2 Financial Results, Defendants Cook the Books to Avoid
     Reporting a Loss Before Closing the Term B Loan .................................................................. 19
     G. Material Misstatements and False Certifications Made In Connection With Nobilis’s
     Financial Statements ................................................................................................................. 30
          1.      Third Quarter 2017 Form 10-Q ...................................................................................... 31
          2.      2017 Form 10-K ............................................................................................................. 33
          3.      First Quarter 2018 Form 10-Q ....................................................................................... 34
          4.      Second Quarter 2018 Form 10-Q ................................................................................... 35
          5.      False SOX Certifications Provided By Fleming and Young.......................................... 36
     H. Deficiencies in Crowe’s Quarterly Review Procedures and Audits .................................. 37
     I.        The Company’s Collapse ................................................................................................... 41
     J.        By Cooking the Books, Defendants Caused the Company’s Demise ............................... 46
          1.      Consequences of the 365+ AR Policy Change and Adjustment .................................... 46
          2.      Damages Suffered By Nobilis ........................................................................................ 47
          3.      Hurricane Harvey Did Not Cause the Company’s Collapse .......................................... 48
III.           LEGAL STANDARDS ..................................................................................................... 50
IV.            ARGUMENT ..................................................................................................................... 50



                                                                          i
                   Case 21-51183-CTG                       Doc 221            Filed 11/06/23              Page 3 of 90




   A. There Are Genuine Issues of Material Fact Concerning Whether Defendants Moreno,
   Young, Fleming, Efird, and Rodriguez Breached Their Fiduciary Duties In Relation to
   Material Misstatements ............................................................................................................. 52
      1.     The “Extensive and Thorough” Analysis the Officer Defendants Rely On Is a Sham .. 54
      2.     Summary Judgment Is Not Warranted Based On Crowe’s Audit and Interim Reviews 57
      3. The So-Called “Layers of Review” Trumpeted By Fleming Were Illusory And Belie
      Summary Judgment ............................................................................................................... 60
      4. The Breaches At Issue Fell Within The Scope of Efird and Rodriguez’s Fiduciary
      Duties ..................................................................................................................................... 62
      5.     The Evidence Demonstrates “Red Flags” and Caremark Violations ............................ 64
   B. There Are Genuine Issues of Material Fact Concerning Whether Defendants Fleming,
   Efird, Moreno, and Young Breached Their Fiduciary Duties In Relation To The RRC .......... 68
      1.     Fleming Violated His Caremark Duties By Failing to Monitor or Oversee the RRC ... 68
      2. Efird, Moreno, and Young Abdicated Their Responsibilities as Members
      of the RRC ............................................................................................................................. 70
   C. There Are Genuine Issues of Material Fact Concerning Whether Defendant Ozonian
   Violated His Caremark Duties By Failing to Monitor the Company’s Compliance With The
   365+ AR Policy ......................................................................................................................... 72
   D. Plaintiff Has Presented Substantial Evidence of Causation and Damages, About Which
   There Are Disputed Issues of Material Fact.............................................................................. 77
      1.     Plaintiff Can Prove Causation and Damages ................................................................. 77
      2.     Fleming’s Trivial Criticisms of Devor’s Opinions Are Meritless.................................. 79
      3. Defendants’ Arguments Concerning Supposed Alternative Causes for Nobilis’s Demise
      Are Not a Basis For Summary Judgment .............................................................................. 81
V. CONCLUSION ..................................................................................................................... 84




                                                                        ii
                Case 21-51183-CTG                    Doc 221           Filed 11/06/23            Page 4 of 90




                                             TABLE OF AUTHORITIES


Cases

Allscripts Healthcare, LLC v. Andor Health, LLC,
        2022 WL 3021560 (D. Del. July 29, 2022) ...................................................................... 80
AmSouth Bancorp. v. Ritter,
        911 A.2d 362 (Del. 2006) ................................................................................................. 51
Anderson v. Liberty Lobby, Inc.,
        477 U.S. 242 (1986) .......................................................................................................... 50
Behrmann v. Brandt,
        2020 WL 4432536 (D. Del. July 31, 2020) ...................................................................... 53
Brehm v. Eisner,
        746 A.2d 244 (Del. 2000) ........................................................................................... 58, 76
Butorin v. Blount,
        2018 WL 4700217 (D. Del. Sept. 30, 2018) ..................................................................... 67
Cede & Co. v. Technicolor, Inc.,
        634 A.2d 345 (Del. 1993) ................................................................................................. 51
Cirillo Fam. Tr. v. Moezinia,
        2018 WL 3388398 (Del. Ch. July 11, 2018), aff'd, 220 A.3d 912 (Del. 2019) ................ 58
Del. Display Group LLC v. VIZIO, Inc.,
        2017 WL 784988 (D. Del. Mar. 1, 2017) ......................................................................... 80
Dorman Prod., Inc. v. Paccar, Inc.,
        201 F. Supp. 3d 663 (E.D. Pa. 2016) ................................................................................ 79
Gantler v. Stephens,
        965 A.2d 695 (Del. 2009) ................................................................................................. 50
Hughes v. Xiaoming Hu,
        No. CV 2019-0112-JTL, 2020 WL 1987029 (Del. Ch. Apr. 27, 2020) ..................... 72, 75
In re Bridgeport Holdings, Inc.,
        388 B.R. 548 (Bankr. D. Del. 2008) ................................................................................. 56
In re Caremark Intern. Inc. Derivative Litig.,
        698 A.2d 959 (Del. Ch. 1996)..................................................................................... 51, 75
In re Citigroup Inc. S’holder Derivative Litig.,

                                                                 iii
                Case 21-51183-CTG                   Doc 221          Filed 11/06/23             Page 5 of 90




        964 A.2d 106 (Del. Ch. 2009)........................................................................................... 71
In re DSI Renal Holdings, LLC,
        574 B.R. 446 (Bankr. D. Del. 2017) ................................................................................. 51
In re Fedders N. Am., Inc.,
        405 B.R. 527 (Bankr. D. Del. 2009) ................................................................................. 57
In re Maxus Energy Corp.,
        615 B.R. 62 (Bankr. D. Del. 2020) ................................................................................... 50
In re McDonald’s Corp. S’holder Derivative Litig.,
        289 A.3d 343 (Del. Ch. 2023)......................................................................... 51, 58, 65, 68
In re Orchard Enters., Inc. Stockholder Litig.,
        88 A.3d 1 (Del. Ch. 2014)........................................................................................... 51, 54
In re PMTS Liquidating Corp.,
        526 B.R. 536 (D. Del. 2014) ............................................................................................. 78
In re Refco Inc. Sec. Litig.,
        2014 WL 2514719 (S.D.N.Y. May 2, 2014), report and recommendation adopted
        2014 WL 2465261 (S.D.N.Y. June 2, 2014) .................................................................... 78
In re Scott Acquisition Corp.,
        344 B.R. 283 (Bankr. D. Del. 2006) ................................................................................. 78
In re Walt Disney Co. Deriv. Litig.,
        907 A.2d 693 (Del. Ch. 2005), aff’d, 906 A.2d 27 (Del. 2006) ........................................ 50
In re Walt Disney Co. Derivative Litig.,
        907 A.2d 693 (Del. Ch. 2005), aff’d, 906 A.2d 27 (Del. 2006) ........................................ 56
Kaucher v. County of Bucks,
        455 F.3d 418 (3d Cir. 2006).............................................................................................. 50
Malone v. Brincat,
        722 A.2d 5 (Del. 1998) ..................................................................................................... 54
McMullin v. Beran,
        765 A.2d 910 (Del. 2000) ................................................................................................. 56
Metro Storage Int’l LLC v. Harron,
        275 A.3d 810 (Del. Ch. 2022)........................................................................................... 77
Milbank, Tweed, Hadley & McCloy v. Boon,
        13 F.3d 537 (2d Cir. 1994)................................................................................................ 78



                                                                iv
                   Case 21-51183-CTG                      Doc 221          Filed 11/06/23              Page 6 of 90




Off. Comm. of Unsecured Creditors of Allegheny Health Educ. & Rsch. Found. v.
       PriceWaterhouseCoopers, LLP,
           989 A.2d 313 (Pa. 2010) ................................................................................................... 83
Off. Comm. of Unsecured of Allegheny Health, Educ. & Rsch. Found. v.
       PricewaterhouseCoopers, LLP,
           607 F.3d 346 (3d Cir. 2010).............................................................................................. 83
Palmer v. Reali,
           21 F. Supp. 3d 655 (D. Del. 2016) .................................................................................... 54
Stone v. Ritter,
           911 A.2d 362 (Del. 2006) ........................................................................................... 51, 54
Thorpe by Castleman v. CERBCO, Inc.,
           676 A.2d 436 (Del. 1996) ........................................................................................... 77, 78
U.S. Accu-Measurements, LLC v. Ruby Tuesday, Inc.,
           2013 WL 1792463 (D.N.J. Apr. 26, 2013) ....................................................................... 79
Valeant Pharms. Int'l v. Jerney,
           921 A.2d 732 (Del. Ch. 2007)........................................................................................... 58
Weaver v. Mobile Diagnostech, Inc.,
           2007 WL 1830712 (W.D. Pa. June 25, 2007) ................................................................... 66
Wolfe v. McNeil-PPC, Inc.,
           881 F. Supp. 2d 650 (E.D. Pa. 2012) ................................................................................ 80
Zimmer Surgical, Inc. v. Stryker Corp.,
           365 F. Sup. 3d 466 (D. Del. 2019) .................................................................................... 80


Rules

FED. R. BANKR. P. 7056 ................................................................................................................ 50
FED. R. CIV. P. 56 .......................................................................................................................... 50




                                                                       v
             Case 21-51183-CTG         Doc 221      Filed 11/06/23     Page 7 of 90




       Plaintiff, Alfred T. Giuliano, in his capacity as Chapter 7 Trustee for the jointly

administered bankruptcy estates of Nobilis Health Corp., et al. (the “Trustee”), submits this

omnibus memorandum in opposition to the motions for summary judgment filed by Defendants

Harry J. Fleming (“Fleming”), P. David Young (“Young”), Brandon Moreno (“Moreno”), Kenneth

Efird (“Efird”), Steve Ozonian (“Ozonian”), and Marcos Rodriguez (“Rodriguez”) (collectively,

“Defendants”): (1) Fleming Motion, Opening Brief, and Appendix filed 7/13/2023 [D.I. Nos. 181-

184] and Supplemental Motion and Supplemental Brief filed 10/6/2023 [D.I. Nos. 201-202]; (2)

Ozonian Motion, Opening Brief, and Declaration filed 10/6/2023 [D.I. Nos. 203-205, 212-213];

(3) Young, Moreno, Efird, and Rodriguez Motion, Opening Brief, and Appendix filed 10/6/2023

[D.I. Nos. 207-209, 214-215] (collectively, the “Motions”).

I.     INTRODUCTION

       The Trustee seeks to hold Defendants—former directors and officers of Nobilis—liable for

breaching their fiduciary duties by cooking the books to conceal Nobilis’s deteriorating financial

state while borrowing $50 million to complete an acquisition. Simply stated, there are disputes as

to genuine issues of material fact concerning each Defendant’s breach of fiduciary duty, the cause

of the Company’s collapse, and the resulting damages.

       Prior to the third quarter of 2017, Nobilis’s standard practice was to write receivables aged

over 365 days (“365+ AR”) down to $0. This policy was memorialized in a business process

narrative effective in December 2016, which all of Nobilis’s financial and accounting personnel

were instructed to follow. However, there is ample evidence demonstrating that, in the third

quarter of 2017, Nobilis’s management disregarded the policy and instead included 365+ AR in

Nobilis’s revenue estimates and assets—thereby falsely inflating revenue and assets and disguising

a covenant breach under the Company’s loan documents. Each Defendant was either a direct



                                                1
             Case 21-51183-CTG          Doc 221      Filed 11/06/23     Page 8 of 90




participant in this scheme or knew about it but failed to take necessary action to stop the resulting

material misstatements in public filings. Eventually the Company wrote down nearly $72 million

in uncollectable receivables, failed to make public filings, was delisted, and collapsed into

bankruptcy. Defendants’ record falls woefully short of establishing any entitlement to summary

judgment and instead merely highlights issues over which the parties have material factual

disputes.2

II.    COUNTERSTATEMENT OF THE FACTS

       A.      Nobilis Was a Publicly Traded Healthcare Company That
               Experienced Substantial Growth Through Acquisitions

       Before its demise, Debtor Nobilis Health Corp. (“Nobilis” or the “Company”) was a

publicly-traded healthcare company that had two business segments: (i) the Medical Segment

(“Medical Segment”) which owned and managed a portfolio of specialty surgical hospitals

(“Nobilis Hospitals”), ambulatory surgical centers (“ASCs”), and multi-specialty clinics at more

than 30 locations in Texas and Arizona; and (ii) the Marketing Segment (“Marketing Segment”),

which provided marketing services to the Medical Segment and third-parties. See Trustee

Opposition Appendix (“Opp. App.”) Ex. 2, at pp. 7, 32-33 (Nobilis Health Corp. Form 10-K For



2
         Fleming opens his brief with a series of baseless criticisms of the Trustee which are
disconnected from his arguments. Fleming’s insinuation that the Trustee’s role as a fiduciary
compels him to dismiss the claims against Fleming is ridiculous. The Trustee has meticulously
acted to marshal estate assets for distribution to creditors on a pro rata basis, which includes
pursuing estate claims such as breach of fiduciary duty. The Court held at the motion to dismiss
stage that the Trustee’s breach of fiduciary duty claims were sufficiently stated and, as set forth
herein, there is substantial evidence supporting them. Fleming’s dissatisfaction with the Court’s
prior rulings, with having not been included among other directors who the Trustee dismissed, or
with having to abide by the same procedural rules and summary judgment standards as any other
litigant provide no support for his Motion. Nor does BBVA’s suspicious assignment of its claim
to Fleming, Young, and Moreno obligate the Trustee to dismiss claims in this lawsuit—particularly
since the Trustee seeks to equitably subordinate those assigned claims in a related lawsuit. See
Giuliano v. Fleming, et al., Adv. No. 23-50486 (CTG) (Complaint filed August 21, 2023, seeking
equitable subordination pursuant to 11 U.S.C. § 510(c)).
                                                 2
                    Case 21-51183-CTG        Doc 221     Filed 11/06/23    Page 9 of 90




the fiscal year ended December 31, 2017). 3 Mainly through acquisitions, Nobilis’s revenue

increased from approximately $31 million in fiscal year ended December 31, 2013, to $300 million

in fiscal year ended December 31, 2017, allocated approximately $282 million to the Medical

Segment and $18 million to the Marketing Segment. Id. at pp. 30, 35-37.

           Nobilis was primarily an “out-of-network” provider:

                     The Medical Segment depends primarily upon third-party
                     reimbursement from private insurers to pay for substantially all of
                     the services rendered to [the Company’s] patients. The majority of
                     the revenues attributable to the Medical Segment are from
                     reimbursement to the Nobilis Hospitals and Nobilis ASCs as ‘out-
                     of-network’ providers. This means, the Nobilis Facilities are not
                     contracted with a major medical insurer as an ‘in-network’
                     participant.

    Id. at p. 34.

           B.        Defendants’ Roles Within the Company

           Defendant Fleming was Nobilis’s Chief Executive Officer (“CEO”) from January 2016

until December 31, 2018, and had previously served as Nobilis’s Executive Chairman from April

2015 to January 2016, as President from July 2014 to April 2015, and as CFO from March 2013

to July 2014. See Fleming Answer to the Complaint [D.I. 85], at ¶ 13. Fleming was also a member

and the Chairman of the Board of Nobilis’s Board of Directors (the “Board”) from November 16,



3
        The Trustee Opposition Appendix is attached to the Coren Declaration, filed
contemporaneously herewith. In addition to the testimonial and documentary evidence cited in his
Opposition Appendix, the Trustee relies upon two expert reports of Harris L. Devor, CPA, a
partner in the worldwide accounting firm of Marcum LLP. See Opp. App. Exs. 83 and 86. Mr.
Devor is nationally recognized as an audit practitioner and forensic/litigation support specialist,
having provided expert testimony in the United States and internationally. Mr. Devor’s
professional career spans more than 50 years and has concentrated on applying generally accepted
accounting principles (“GAAP”), generally accepted auditing standards (“GAAS”), and U.S.
Securities and Exchange Commission (“SEC”) requirements. Mr. Devor has served as the
accounting and auditing expert in some of the most high-profile securities fraud cases of the last
several decades and is a recognized expert in matters involving financial reporting, including
compliance with GAAP, GAAS, and SEC requirements.
                                                     3
            Case 21-51183-CTG         Doc 221       Filed 11/06/23    Page 10 of 90




2017 until the Debtors’ bankruptcy filings,4 and had previously served as a member of Nobilis’s

Board from 2010 until June 2016. See id.

       Defendant Efird was Nobilis’s President from July 2016 until September 13, 2019, and

prior to that had been Nobilis’s Executive Vice President and Chief Operating Officer since

January 2016. See Efird Answer to the Complaint [D.I. 84], at ¶ 16.

       Defendant Young was Nobilis’s Chief Financial Officer (“CFO”) from February 2017 until

September 2018. See Young Answer to the Complaint [D.I. 83], at ¶ 14.

       Defendant Moreno was Nobilis’s Senior Vice President of Finance from January 2016 until

January 2019, and then served as Nobilis’s CFO from January 2019 until September 6, 2019. See

Moreno Answer to the Complaint [D.I. 86], at ¶ 15. Moreno had previously been Nobilis’s

Associate Vice President of Finance from September 2014 until January 2016. See id.

       Defendant Rodriguez was Nobilis’s Chief Accounting Officer (“CAO”) from May 2016

until May 2018. See Rodriguez Answer to the Complaint [D.I. 78], at ¶ 24.5

       Defendant Ozonian was a member of Nobilis’s Board from April 2015 to September 2019.

See Ozonian Answer to the Complaint [D.I. 80], at ¶ 19. Ozonian also served as Chairman of the

Board’s Audit Committee during the relevant time period. See id.; see also, e.g., Opp. App. Ex.

126 (Schedule 14A filed May 1, 2017), at pp. 22, 29 (identifying Ozonian as Chairman of Audit

Committee); Opp. App. Ex. 87 (Schedule 14A filed April 30, 2018), at pp. 22, 31 (same).6 The



4
       Debtors filed for bankruptcy on October 21, 2019 (the “Petition Date”).
5
       Defendants Young, Moreno, Efird, and Rodriguez are referred to collectively as the
“Officer Defendants.” Although both an officer (the CEO) and a director (the Chairman of the
Board), Defendant Fleming is referred to separately and not grouped within the Officer
Defendants.
6
       Ozonian testified that in late 2018 or 2019 he stopped serving as the Chair of the Audit
Committee due to health issues but continued to serve on the Board. See Opp. App. Ex. 52
(Ozonian Dep. Tr. at pp. 15-17, 52, 60-61); see also Opp. App. Ex. 125 (Form 8-K for 9/30/19).
Ozonian also testified that, due to these health issues, there were extended periods when he was
                                                4
             Case 21-51183-CTG           Doc 221        Filed 11/06/23     Page 11 of 90




Audit Committee’s primary responsibilities included “assist[ing] [the] Board with oversight of . .

. the quality and integrity of [Nobilis’s] financial statements and its related internal controls over

financial reporting” and “assist[ing] [the] Board in fulfilling its oversight responsibilities regarding

finance, accounting, and legal compliance.” Opp. App. Ex. 126 (Schedule 14A filed May 1, 2017),

at p. 31. The Company considered Ozonian an “audit committee financial expert as defined by

Item 407 of Regulation S-K.” See id. at p. 29.

        C.      The Nobilis—BBVA Lending Relationship

        On October 28, 2016, the Company entered into the “BBVA Credit Agreement,” with

BBVA Compass Bank as Administrative Agent for a lending group, which included “Term Loan

A” in the principal amount of $52.5 million and a $30 million revolving credit facility. Opp. App.

Ex. 2, at p. 43. The BBVA Credit Agreement contained “customary events of default” including

the violation of specified covenants and “the making of a materially false or misleading

representation.” Id.

        On November 15, 2017, the BBVA Credit Agreement was amended to provide an

additional $50 million term loan (known as the “Term B Loan”) earmarked to finance the Elite

acquisition—Nobilis’s purchase of majority ownership interests in Elite Hospital Management,

LLC and three Elite affiliates (collectively, “Elite”), which managed ambulatory surgical centers

and a specialty surgical hospital in Houston, Texas. See id. at pp. 7, 44.

        In Fleming’s view, the Company’s stock was undervalued and the Elite acquisition would

enhance Nobilis’s in-network revenue. See Opp. App. Ex 4 (Fleming Dep. Tr. I at pp. 47-48);




unable to be “present” for many matters relating to his Board duties. Opp. App. Ex. 52 (Ozonian
Dep. at p. 17) (“[I]n ’18 . . . into ’19 . . . I was not able to be fully present for things.”); id. at p.
52 (in reference to the third/fourth quarters of 2018, “That was a period where I was not present
for many things.”).
                                                    5
            Case 21-51183-CTG          Doc 221       Filed 11/06/23   Page 12 of 90




Opp. App. Ex. 75 (Fleming Dep. Tr. II at pp. 79-81). Fleming viewed the acquisition as “critical”

to the Company’s business plan because “institutional shareholders and the bankers and our

coverage out there from the analysts were looking very hard at Nobilis’ payor mix. They wanted

in-network contracts, in-network revenue, in-network EBIDTA.” Opp. App. Ex 4 (Fleming Dep.

Tr. I at pp. 47-48); see also Opp. App. Ex. 3; Opp. App. Ex. 5.7

       D.      Nobilis’s Financial Reporting and Critical Accounting Policies

       The Company’s financial statements were to be prepared pursuant to the rules and

regulations of the SEC for financial information. Opp. App. Ex. 6, at p. 86/158 (Nobilis Health

Corp. Form 10-K For the fiscal year ended December 31, 2016, Note 2). Accordingly, they must

include all information and notes required by accounting principles generally accepted in the

United States (U.S. GAAP) for complete financial statements. Id. Nobilis reported that the

“[e]stimates most consequential to our consolidated financial statements are in the area of revenue

recognition,” and that “[o]ther significant estimates include estimates of fair values which

management formulates in connection with valuation of assets and liabilities . . . as well as

realizable amounts of accounts receivable....” Opp. App. Ex. 6 at pp. 86-88/158 (Form 10-K For

the fiscal year ended December 31, 2016, Note 2).

               1.     Sarbanes-Oxley (SOX) Act of 2002 – Nobilis’s SOX Initiatives

       Defendants were on notice to be ever vigilant concerning internal controls over financial

reporting because the Company had restated its 2014 financials due to auditor-identified material

weaknesses in internal controls and GAAP violations. Opp. App. Ex. 7, at pp. 3/78, 24-25/78

(Nobilis Health Corp. Form 10-K/A, Amendment No. 1, For the fiscal year ended December 31,

2014, filed January 12, 2016, signed by Defendant Fleming as CEO and Director, and Defendant


7
       Fleming owned several million dollars of Nobilis stock at the time. See Opp. App. Ex. 75
(Fleming Dep. Tr. II at pp. 145-46).
                                                 6
                 Case 21-51183-CTG     Doc 221       Filed 11/06/23   Page 13 of 90




Ozonian as then-Chairman of the Board and Director). As part of the remediation efforts, the

Company hired PricewaterhouseCoopers (“PwC”) to assist in developing and establishing SOX

compliance procedures. See Opp. App. Ex. 8 (7/7/2016 email from Rodriguez to the other

Defendants and others in Nobilis’s accounting and reporting functions). Ozonian testified that the

Audit Committee had significant involvement in that effort. See Opp. App. Ex. 52 (Ozonian Dep.

Tr. at p. 31).

        PwC was engaged to “draft detailed business process narratives that incorporate applicable

accounting policies, provide a high-level overview of the process and identify internal control

activities. For example, the revenue recognition and billing process will describe how revenue is

recorded including all significant transactional and internal control elements….” Opp. App. Ex. 9,

NOB.EML_00137662_000004 (5/26/2016 email from Rodriguez to Ozonian, copying Fleming

and Ken Klein, with attached Financial Reporting and SOX Project Plans).

        Under PwC’s guidance, the Company developed SOX procedures (sometimes referred to

as narratives). See Opp. App. Ex. 10, at Nobilis_00257232 (10/31/2016 email from Rodriguez to

Ozonian, copying Fleming and Efird, circulating draft SOX documentation). The new SOX

procedures had to be approved by the Audit Committee—and Ozonian, as chair, approved them.

See id. at Nobilis_00257231; Opp. App. Ex. 11, at NOB.EML_00464698 (11/17/2016 email chain

between Rodriguez, Ozonian, Fleming, Efird, and others confirming Ozonian’s approval of the

SOX documentation); see also Opp. App. Ex. 54 (Rodriguez Dep. Tr. II at pp. 42-43).

        On December 5, 2016, a widely distributed email with the Subject: “Management News

Blast: Internal Controls and Business Processes” was “Sent on behalf of the Chief Accounting

Officer [Defendant Rodriguez)],” circulating the Company’s newly adopted SOX Business

Process Internal Controls:



                                                 7
Case 21-51183-CTG         Doc 221       Filed 11/06/23   Page 14 of 90




 Dear Leaders-

 In Q3, Nobilis Health hired PriceWaterhouseCoopers, LLP (PwC)
 to perform a Sarbanes-Oxley Act (SOX) risk assessment and
 scoping activities and completed this project in September. Since
 then, we have incorporated their findings into our current SOX
 Internal Control documentation. The rollout of all business
 narratives and related controls is effective immediately.

 Management requests that all business leaders and employees
 follow the processes as documented and follow the control activities
 specified in each respective business process, as applicable.

 [. . .]

 The business process narratives include documents for:

      •    Monthly Close and Financial Reporting


                                    8
              Case 21-51183-CTG        Doc 221       Filed 11/06/23   Page 15 of 90




                    . . . [and]

                    •   Medical Revenue. . .

               A complete file of process narratives is attached. You can also
               request these from the Accounting Team when needed.

               Please cascade this information to your direct reports, as
               appropriate. . . .

Opp. App. Ex. 12, at NOB.EML_00131530_0001-02 (emphasis added).8

               2.       The Company’s Policy of Writing Down to $0 365+ AR

       The SOX Business Process Internal Controls circulated by Defendant Rodriguez on

December 5, 2016 (and made effective as of that date) included, inter alia, a business process

narrative entitled “Revenue to Cash – ASCs and Hospitals,” which concerned revenue recognition

policies for medical revenue. See id. at NOB.EML_00131548_0001-07 (referred to herein as the

“SOX Revenue Recognition Narrative”). The SOX Revenue Recognition Narrative sets forth a

clear rule that accounts receivable that have not been collected within one year were to be written

down to $0 (i.e., written-off):

               Any receivables amounts that have not been collected on after a
               year will be written down to $0. The amounts will be written off
               directly to revenue, and are approved by the VP of Finance.

Id. at NOB.EML_00131548_0007 (emphasis added).9 This rule is referred to herein as the “365+

AR Policy.”

       On March 31, 2017, the SOX Revenue Recognition Narrative for medical revenue was

updated—and the 365+ AR Policy remained unchanged and in effect:



8
        Defendants Fleming and Moreno, along with then-CFO Ken Klein, were among the email
recipients.
9
        See also Opp. App. Ex. 10, at Nobilis_00257686 (Rodriguez email seeking Audit
Committee’s approval of 365+ AR Policy, as part of SOX documentation); Opp. App. Ex. 11, at
NOB.EML_00464698 (Ozonian providing same, as chair of Audit Committee).
                                                 9
            Case 21-51183-CTG        Doc 221       Filed 11/06/23   Page 16 of 90




              Any receivables amounts that have not been collected on after a
              year will be written down to $0. The amounts will be written off
              directly to revenue, and are approved by the VP of Finance.

Opp. App. Ex. 13, at Nobilis_0222818 (version 1.1 of the SOX Revenue Recognition Narrative)

(emphasis added). 10 The SOX documentation confirms that it was approved by Defendant

Rodriguez, and that Defendant Moreno was among “[p]ersonnel involved in updating the latest

version[s] of this Process Narrative.” Opp. App. Ex. 12, at NOB.EML_00131548_0001, 0007;

Opp. App. Ex. 13, at Nobilis_0222812, 0222818.

              3.     Nobilis’s Policy of Writing Down to $0 365+ AR Was
                     Well-Known to Nobilis’s Auditor and Management

                     a.      The Auditors Knew the Policy

       Crowe Horwath LLP (“Crowe”) served as the Company’s auditors. In the second quarter

of 2017, Laura Edwards became the Crowe engagement partner on the Company’s account. Opp.

App. Ex. 15 (Edwards Dep. Tr. I at p. 20). As engagement partner, Edwards was the highest-

ranking member of the Crowe team. Id. Edwards testified




10
        From an accounting/financial reporting perspective, the write-down to $0 of 365+ AR,
impacted Nobilis’s income statement (by reducing revenue in the amount of the write-down) and
Nobilis’s balance sheet (by reducing accounts receivable in the amount of the write-down). See,
e.g., Opp. App. Ex. 14 (Moreno Dep. Tr. I at p. 58).
                                              10
             Case 21-51183-CTG        Doc 221       Filed 11/06/23   Page 17 of 90




Id. at pp. 130-31 (referring to Opp. App. Ex. 16, a work paper prepared in connection with Crowe’s

audit of Nobilis’s financial statements for the year ending December 31, 2017).

       Amanda Lockhart joined Crowe in August 2015 and began working on the audit

engagement team for Nobilis in September 2015. Opp. App. Ex. 17 (Lockhart Dep. Tr. at pp. 7-

8). Lockhart remained on the Nobilis audit engagement team from September 2015 through

September 2018. Id. at pp. 8-9. Regarding the Company’s policy of writing off 365+ AR,

Lockhart testified:




                                               11
            Case 21-51183-CTG         Doc 221       Filed 11/06/23   Page 18 of 90




                                                                 .

Id. at pp. 18-20 (referring to Opp. App. Ex. 18, a memo prepared by her in connection with Crowe’s

Nobilis audit engagement) (Objections omitted).

                      b.      Management—Including Defendants—Knew the Policy

       Prior to the third quarter of 2017, the Company’s historical policy and standard practice

 was to write down to $0 365+ AR. The widely distributed SOX Narratives made that accounting

 policy crystal clear, and Defendant Moreno’s deposition testimony further confirms the point:

               Q. … So the company’s general process was to do what with AR
               that aged past 365 days?

               A. Reserve it fully.

               Q. What do you mean by reserve it fully?

               A. As I mentioned, there’s a difference between the AR we represent
               on our financial statements versus what the CBO would see in the
               patient systems….

               Q. So the CBO would keep working those accounts, right?

               A. Yes.

               Q. And then what would happen to those balances on the financial
               statements?

               A. Generally, we would reserve for them fully.

               Q. So it would be deducted from AR?

               A. Yes.



                                               12
             Case 21-51183-CTG         Doc 221       Filed 11/06/23    Page 19 of 90




               Q. And would a corresponding amount be deducted from net
               revenue?

               A. Yes.

Opp. App. Ex. 14 (Moreno Dep. Tr. I at pp. 65-66).

       Defendant Young, who replaced Ken Klein as CFO in early 2017, testified that Nobilis

changed its “general practice” in the third quarter of 2017:

               Q. … Now, prior to the third quarter of 2017, Nobilis, according to
               your testimony, reserved against 365-day+ AR, correct?

               A. I did say that. I’m not certain – after you asked the question, I’m
               not certain if it was a reserve or if it was just a change in the
               population. I don’t recall exactly how we accounted for those.

               Q. … Fair enough. And by change in the population, do you mean
               that perhaps the 365-day+ AR was simply not included in the
               revenue estimate?

               A. That’s what I’m saying. I don’t recall.

               Q. … But whichever way it was done, whether it was reserved
               against or not included in the population as you said, a change was
               made in the third quarter of 2017 in how Nobilis treated the 365-
               day+ AR, correct?

               A. No.

               Q. Nobilis kept doing exactly the same thing in the third quarter of
               2017 with respect to 365-day+ AR that it was always doing?

               A. We had a general practice that we had followed and we did
               not follow that practice in the third quarter. We changed that
               practice.

               […]

               Q. How did you change it?

               A. In the past, we had not really assessed the collectability of those
               receivables and we had simply excluded them – I’m pretty sure,
               excluded them from the population. In the third quarter, we included



                                                13
             Case 21-51183-CTG          Doc 221      Filed 11/06/23   Page 20 of 90




               them in the population. It wasn’t the first time that we had done
               that, but we took a broader look at it in that quarter.

               […]

               Q. Okay. And now, what did Nobilis do with respect to those
               claims in the third quarter of 2017 that was different from prior
               practice?

               A. Prior practice was for a receivable that had gone over 365
               days would be excluded from the receivables.

               Q. And now they were going to be included; is that right?

               A. Now they were going to be included.

Opp. App. Ex. 1 (Young Dep. Tr. I at pp. 75-78) (Objections omitted). When asked “Who made

the decision to change the prior practice with respect to the treatment of 365+ AR, Young testified

that it was a “management decision.” Id. at p. 84. When pressed as to who in management made

the decision, Young testified that “management” included Efird, Moreno and himself. Id. As to

Defendant Fleming, Young testified that Fleming was informed of the decision and “had no

objections.” Id. at p. 85.

       Defendant Rodriguez similarly admitted that Nobilis had made a change in the third quarter

of 2017 as to the Company’s treatment of 365+ AR, yet he quibbled over whether the change was

to an accounting “policy” or an accounting “estimate.” Opp. App. Ex. 63 (Rodriguez Dep Tr. I at

pp. 116-19); see also Opp. App. Ex. 14 (Moreno Dep. Tr. I at p. 196) (Moreno’s testimony that he

viewed it as “a change in estimate”).

       Neither Rodriguez nor Ozonian could recall any new SOX documentation changing the

policy or point to any written direction from the Audit Committee, the CEO, the CAO, or anyone

else at the Company suspending or reversing the policy. See Opp. App. Ex. 54 (Rodriguez Dep.

Tr. II at pp. 48-50); Opp. App. Ex. 52 (Ozonian Dep. Tr. at pp. 49-50).



                                                14
            Case 21-51183-CTG         Doc 221       Filed 11/06/23   Page 21 of 90




       E.      Defendant Fleming Formed a Revenue Recognition Committee
               to Manage a Critical Accounting Function, yet Defendants
               Abdicated Their Collective Responsibilities to Implement and
               Monitor That Function

       By email dated February 28, 2017, Defendant Fleming announced the immediate formation

of a “Revenue Recognition Committee” (the “RRC”) initially consisting of Efird, Moreno, Young,

Patrick Yoder, Ken Klein, and Tuhin Pankaj:

               Team, I am forming a Revenue Recognition Committee effective
               immediately. Each of you will participate and you will collectively
               decide how you will operate and interface with management and
               Crowe (or any other auditor). For some time now I’ve been
               considering how we manage this extremely important function
               for the company. I have been seriously concerned that we have
               been putting this function on one person’s shoulders. This new
               committee will report to the CFO. You will adopt your own rules
               and procedures as well as pick a chair person to run the meetings.
               This new committee will set the company’s future policies on
               revenue recognition and will make all decisions as a group. The
               CEO will not participate in this process.            The CFO’s
               participation will be up to the CFO. Ken will set the first meeting
               for tomorrow morning. I will expect the newly elected chairman
               to report to me on the committee’s progress. Each of you has been
               chosen as initial members because of your background and skill set.
               I’d like to see the process take shape asap.

Opp. App. Ex. 20 (emphasis added).

       The RRC kept minutes for meetings that occurred on March 1, 2017, March 2, 2017, March

20, 2017, April 6, 2017, April 12, 2017, May 3, 2017, May 8, 2017, and July 6, 2017. See Opp.

App. Ex. 21 (email attaching meeting minutes).11 The Agenda on “03.01.2017” indicates that




11
        In December 2018, after the Company had written off $72 million in AR and Nobilis failed
to file its Form 10-Q for the quarter ending September 30, 2018, Nobilis’s Chief Compliance
Officer investigated the Company’s revenue recognition procedures. His email to Moreno on
December 17, 2018, requested, “all meeting minutes” of the RRC (referred to in the email chain
as Rev. Cycle Committee meetings). Moreno responded, “I don’t believe we kept minutes,” but a
follow up email to Renee Li and others resulted in minutes for the meeting dates referenced above.
See Opp. App. Ex. 21.
                                               15
             Case 21-51183-CTG          Doc 221       Filed 11/06/23   Page 22 of 90




Defendant Efird was elected “Committee Chair” and there were “5 voting members, 3 standing

membership-Anna, Renee Li, David [Young].” Id., at DEFENDANTS_00004749.

        No further RRC meeting minutes appear to have been prepared after July 6, 2017—indeed,

it is unclear whether subsequent meetings occurred at all. In any event, it is clear that the RRC

abdicated its charge to “set the [C]ompany’s future policies on revenue recognition and . . . make

all decisions as a group,” 12 and Defendants abdicated their responsibilities to implement and

monitor that critical accounting function.

        The testimony of Efird (the Chair of the RRC) confirms that the committee as a whole

abdicated its responsibilities:

                •   His responsibilities as Chair were no different from anyone in the group and he
                    recalled no “rigid form or protocol or deliverable….”;

                •   The RRC did not set the Company’s future policies on revenue recognition, and
                    that “was not a topic of [the RRC’s] discussion”;

                •   He does not know who did set such policies;

                •   He cannot explain why the RRC did not set such policies;

                •   While he “believe[s]” the RRC met after July 6, 2017, he does not know if
                    minutes of any such meetings were kept;

                •   He recalls no discussions of the RRC’s purposes or the scope of its efforts;

                •   He recalls no discussions at an RRC meeting about the “recalculation of AR”;

                •   He recalls no discussions about the RRC’s decision-making authority;

                •   As chairman, he did not designate someone to take minutes and did not even
                    remember minutes being taken;

                •   When asked if he had “any involvement in determining how Nobilis would
                    recognize revenue,” he responded, “No. It was not my – that was not my lane
                    if you will”;


12
        Opp. App. Ex. 20.
                                                 16
             Case 21-51183-CTG          Doc 221     Filed 11/06/23   Page 23 of 90




               •   He acknowledged that the RRC was part of the Company’s 2017 strategic plan,
                   but stated his view that “I wouldn’t consider that vital to the company, you
                   know, or something that’s remarkable”13;

               •   He did not recall discussions of “revisions to revenue estimates” by the RRC;
                   and

               •   He did not know whether the RRC ever made decisions concerning whether a
                   revision to the Company’s revenue estimate should or should not be made.

Opp. App. Ex. 22 (Efird Dep. Tr. I at pp. 23-26, 28-30, 32, 38, 45-46, 78); see also Opp. App. Ex.

74 (Efird Dep. Tr. II at pp. 17, 19).

       Defendant Moreno, a member of the RRC, testified that:

               •   He did not know who the Chair of the RRC was;

               •   He did not know if the RRC chair ever reported to Fleming;

               •   He did not know if there were minutes taken of every meeting;

               •   He did not know who kept the minutes;

               •   He was not aware of any recommendations made by the RRC to the CEO;

               •   He did not know whether the change to include 365+ AR in Nobilis revenue
                   estimates was discussed with the Board’s audit committee; and

               •   He recalled no vote by the RRC to approve the change as to 365+ AR and
                   recalled no discussions by the RRC on the subject.

Opp. App. Ex. 14 (Moreno Dep. Tr. I at pp. 79-80, 82, 84-86).

       Defendant Young, a member of the RRC, similarly testified that:

               •   The RRC “was a group formed to ensure the accuracy of [the Company’s]
                   estimating,” but he had no recollection of decisions or discussions as to the
                   treatment of 365+ AR;

               •   He does not know if there are minutes of RRC meetings after July 6, 2017; and



13
       See Opp. App. Ex. 23 (Email to Fleming dated March 17, 2017, attaching 2016 synopsis
and 2017 strategic plan, which was prepared for presentation to the Board).
                                               17
              Case 21-51183-CTG           Doc 221       Filed 11/06/23   Page 24 of 90




                  •   He does not recall who suggested that the Company change its practice as to
                      365+ AR.

Opp App. Ex. 1 (Young Dep. Tr. I at pp. 89, 93, 100).

        Defendant Fleming also abdicated his responsibility to ensure that the RRC performed its

critical financial function. Although Fleming purportedly formed the RRC for the purpose of

managing the “extremely important function” of revenue recognition (see Opp. App. Ex. 20), he

testified that:

                  •   His answer to Interrogatory no. 6 (served in the BBVA Action) that he “is
                      neither aware of the specific process for Nobilis’ adoption of the 365+ A/R
                      change, nor when that decision was made, nor what documents were relied upon
                      for making the change” is accurate;

                  •   He “was not involved in the process for adopting a change to the 365-plus AR,
                      and, therefore, did not make the decision to change Nobilis’ accounting
                      practices related to 365-plus AR”;

                  •   He does not know when the decision was made;

                  •   He did not participate in any conversations with Crowe regarding the
                      accounting practices related to 365+ AR;

                  •   He did not know whether the RRC made “specific decisions around revenue”
                      or set the Company’s future policies on revenue recognition;

                  •   He recalls conversations with RRC Chair Efird as to whether Nobilis would hit
                      target revenues, but no conversations around RRC decisions as to revenue
                      recognition policy;

                  •   No one on the RRC ever told him that the committee was setting policies on
                      revenue recognition, and he never asked anyone if the committee in fact did
                      that;

                  •   He has never seen any document suggesting the RRC set policies on revenue
                      recognition; and

                  •   Even though the most consequential estimates for the Company’s financial
                      statements were in the area of revenue recognition, he did “nothing specific” to
                      ensure the RRC performed the work for which it was designated.



                                                   18
            Case 21-51183-CTG          Doc 221       Filed 11/06/23    Page 25 of 90




Opp App. Ex. 4 (Fleming Dep. Tr. I at pp. 123-26, 128, 133-34); Opp. App. Ex. 75 (Fleming Dep.

Tr. II at pp. 26, 123-24, 127); see also Opp. App. Ex. 24 at p. 9 (Fleming’s interrogatory answers).

       F.    In the Face of Poor 2017 Q2 Financial Results, Defendants Cook the Books to
             Avoid Reporting a Loss Before Closing the Term B Loan

       Nobilis missed its 2017 Q2 internal revenue projections by $8.1 million. See Opp. App.

Ex. 25, at NOB.EML_00191851 (Management Report for the week of 8/16/2017) (the “August

2017 Report”). In the month of July 2017, revenue cratered—and the Company missed its internal

revenue projections by almost $10 million. Id. And by mid-August 2017, monthly revenue was

off almost $16 million. Id.

       On August 10, 2017, Moreno sent a “sub cash analysis on our Q1 2017 AR with a

comparison to our 2016 AR” to Young and others, which showed Nobilis was “behind the mark.”

Opp. App. Ex. 26. Young responded, “How alarmed about this should I be?” and then responded

again 5 minutes later: “So for the record, I’m very concerned. Can we please discuss first thing

tomorrow morning? I’m open to any comments that might come in tonight too. I would like to

be able to sleep, if just a little bit.” Id. Ten days later, on August 20, 2017, Young forwarded the

August 2017 Report to Efird, Moreno, and others asking: “Guys – curious about your thoughts on

the attached. How realistic is it?” See Opp. App. Ex. 25.

       The August 2017 Report itself, issued before Hurricane Harvey hit Houston on the evening

of August 25, 2017, painted an increasingly bleak picture of Nobilis’s financial performance. The

Company’s estimated August revenues were $15,939,205 below budget.                          Id., at

NOB.EML_00191851.14




14
       In an email to Young on September 28, 2017—two days before the close of Q3—Moreno
lamented: “End of the day, lowest volumes all year and we were heading that way before any
hurricane hit. Only difference this Q is collections weren’t strong so we couldn’t bank on as large
                                                19
            Case 21-51183-CTG          Doc 221        Filed 11/06/23    Page 26 of 90




       In a September 5, 2017 email to Ken Klein (former CFO and then CFO for Operations),

Young expressed his frustration as to Nobilis’s “terrible” numbers: “I am out of ideas here. I can

really use your help about what to do to figure out if we have an issue and how to turn this around.

These numbers have been terrible for the past two weeks and we don’t have good answers, much

less a solution. Can you help?” Opp. App. Ex. 28, at DEFENDANTS_00001844. Klein’s

response was not comforting: “Yes…I’ve been getting sick each day I open the file.…numbers

‘seem bad’.     Let me gather some thoughts and send you some comments.”                     Id. at

DEFENDANTS_00001843. In reply, Young suggested:

               I think there is a real possibility that what has happened is that they
               are turning the current receivables faster but the aged amounts are
               not getting addressed. As a result, DSO [Days Sales Outstanding]
               doesn’t change but collections drop because the volumes were lower
               in April/May and they have now been collected and they aren’t
               collecting the older balances. That is the best conclusion I can reach
               from the data they have provided. I will send you a deck they sent
               me.

Id. The deck to which Young referred laid blame for the collection shortfall on reduced payments

from insurance companies—an explanation that in Young’s view “doesn’t hold water for a variety

of reasons….” Opp. App. Ex. 76, at NOB.EML_00191686 (forwarding slide deck to Klein).

       The Management Report for the week of September 21, 2017 was circulated the next day

to Defendants Moreno, Young, Fleming, Efird and Rodriguez, reporting an estimated budget

shortfall of approximately $16.4 million for the last month of Q3. See Opp. App. Ex. 30, at

DEFENDANTS_00008039. On September 25, 2017, Young forwarded the report to Patrick

Yoder (the Company’s Chief Revenue Officer) and Efird, copying Moreno: “Do we believe these

numbers? Looks bad.” Id., at DEFENDANTS_00008037 (emphasis added).



of adjustments as last time.” Young forwarded Moreno’s comments to Efird. Opp. App. Ex. 27,
at DEFENDANTS_00000907.
                                                 20
             Case 21-51183-CTG          Doc 221       Filed 11/06/23    Page 27 of 90




       As Q3 was ending and the closing dated for the Term B Loan was approaching, Defendants

panicked. On September 28, 2017, Will Simpson, Nobilis’s Director of Finance, circulated his

updated revenue estimate spreadsheet to Young and Moreno (and others):

               See attached. This should be more indicative of where we anticipate
               to land for the Q. I have us around $59.4M.

               I was conservative on anticipated AR adj’s ($1-1.5M) based on the
               cash collected to date in comparison to same time last month.

Opp. App. Ex. 31, at DEFENDANTS_00000899.15

       Approximately three hours later, Young forwarded Simpson’s updated Q3 revenue

estimate to Moreno with a question: “Brandon – can you comment on this? Just curious what you

think.” Opp. App. Ex. 27, at DEFENDANTS_00000907.

       Moreno’s response both confirmed the bad news and hatched the plan to cook the books—

that is, using accounting tricks to make Nobilis’s financial results look better than they really were

through manipulating the value of aging AR:

               I was talking it through with Will before he dug in. Unfortunately
               I think it’s going to come close to this.

               [. . .]

               All this being said, I think we may be able to stretch it 60 but before
               that’s official, I want to dig in deep to DSO [Days Sales
               Outstanding] at each facility and the individual agings to see what
               % of total AR is over 150-180-210 etc.

               End of the day, lowest volumes all year and we were heading that
               way before any hurricane hit. Only difference this Q is collections
               weren’t strong so we couldn’t bank on as large of adjustments as
               last time.




15
       Under the Company’s SOX Narratives,
                                . See Opp. App. Ex. 32, at Nobilis_00222818; Opp. App. Ex.
33 (Simpson Dep. Tr. at p. 31).
                                                 21
             Case 21-51183-CTG        Doc 221       Filed 11/06/23   Page 28 of 90




Id.16

        Shortly after 10 p.m. the same evening, Young sent the revenue estimates and analyses to

Efird with the bad news that, based on the estimates, the Company would have to report negative

EBIDTA for Q3, but indicated that he would continue to “work with Brandon [Moreno] on this.”

Opp. App. Ex. 31, at DEFENDANTS_00000899. At 11:14 p.m., Yoder confirmed that “Without

adjustments, we’re close to $60MM for Q.” Opp. App. Ex. 35, at DEFENDANTS_00008070.

        Young and Yoder met on October 3, 2017 to review the revenue estimates. See id. at

DEFENDANTS_00008072 (9/28/2017 email indicating Young and Yoder “are meeting on

Tuesday [10/3/2017] to review Q3 and project revenue for Q4”). That same day, a revised

spreadsheet containing materially upsized revenue estimates for Q3 and Q4 revenue projections

was emailed among Young, Efird, and Yoder, as well as printed out and delivered to Fleming in

his office. See Opp. App. Ex. 36 (Email from Yoder to Young sent 10/3/2017 at 2:04 PM, Subject

“Q4 Revenue Projections.xlsx,” attaching a spreadsheet containing the original Q3 revenue

estimates, the upsized Q3 revenue estimates, and Q4 revenue projections); Opp. App. Ex. 37

(Email from Efird to Fleming’s executive assistant, Ashley Gillaspia, sent 10/3/2017 at 2:58 PM,

forwarding a spreadsheet containing the original Q3 revenue estimates, the upsized Q3 revenue

estimates, and Q4 revenue projections, with direction to “Pp [please print] all tabs and bring to

Harry’s office”); Opp. App. Ex. 38 (Gillaspia reply email to Efird confirming that the materials

were printed and given to Defendant Fleming).17



16
        DSO was a metric to monitor accounts receivable collections. See Opp. App. Ex. 1 (Young
Dep. Tr. I at pp. 154, 158). The metric “tells you how many days it takes to get paid based off
date of service.” Opp App. Ex. 34 (Klein Dep. Tr. at p. 34). If a service was performed on January
1 and payment was received on February 1, the days sales outstanding would be 31 days. Id.
17
        As CEO, Fleming received financial reports from his team on a regular basis and his
“focus” was on top-line revenues, EBITDA, the “bottom line,” and other metrics. Opp. App. Ex.
4 (Fleming Dep. Tr. I at pp. 79, 81-82).
                                               22
            Case 21-51183-CTG         Doc 221       Filed 11/06/23   Page 29 of 90




       A comparison of Simpson’s original Q3 revenue estimate with that of the revised Q3

upsized revenue estimate reveals a material revenue estimate increase from $59,419,270 to

$65,000,000. See Opp. App. Ex. 36, at NOB.EML_00113580_000001. The $65,000,000 is an

arbitrarily invented number that was dropped into the revised revenue estimates in the line titled

“AR Adjustments.” Id.; see also Opp. App. Ex. 37, at DEFENDANTS_00000934. The $65

million revenue estimate was phony and contrived, as was Defendants’ post-hoc reliance on the

inclusion of 365+ AR to goose-up reported revenue.

       The following shows the comparison of the original revenue estimate of $59,419,270 to

the upsized revenue estimate of $65,000,000:

                                ORIGINAL REVENUE ESTIMATE




 Opp. App. Ex. 31, at DEFENDANTS_00000902.




                                               23
             Case 21-51183-CTG         Doc 221        Filed 11/06/23   Page 30 of 90




                                  UPSIZED REVENUE ESTIMATE




Opp. App. Ex. 37, at DEFENDANTS_00000934 (Highlighting added).

       Undermining the credibility of the prior day’s $65,000,000 Q3 revenue estimate, Simpson

emailed an “update” to Moreno on October 4, 2017, commenting “I think we’ll be lucky to get to

just above 60M. I have concerns around BSH as I had to push just to reduce a negative

adjustment.” Opp. App. Ex. 80. Moreno forwarded the update to Young, whose response

suggested that he would not let the financial facts get in the way of reporting better numbers: “Just

to you. Not looking good but still work to do. More to come.” Opp. App. Ex. 41.

       Needing to reverse engineer $65 million in Q3 revenue, Defendants turned to accounting

chicanery—in particular, including 365+ AR instead of writing it off in accordance with the SOX

Narratives and Company policy. Two weeks earlier, on September 20, 2017, Young had emailed


                                                 24
            Case 21-51183-CTG          Doc 221       Filed 11/06/23   Page 31 of 90




Yoder criticizing Nobilis’s outside collection agency ASD and considering whether to include,

rather than to write off 365+ AR:

              See below for the receivable aging. You will note that ½ of the
              receivables (~$5MM) are over 150 days old. Of this amount,
              $3.8MM is over 240 days or 8 months. As these amounts go over 360
              days we will need to evaluate their collectability and make a decision
              on whether to drop them from our calculations. The first window of
              that is $893K.

              …We simply cannot afford for them to ignore $4MM that is 8 months
              old.

Opp. App. Ex. 42, at DEFENDANTS_00008769. This email was forwarded to Moreno on

October 5, 2017. See id. at DEFENDANTS_00008768-69.

       On October 6, 2017, Moreno emailed Young, Efird, and others an upsized “Q3 Revenue

and AR Summary (10.6.17).xlsx”—which magically reported Q3 revenues of “$64.8MM.” Opp.

App. Ex. 43, at NOB.EML_00191339. To contrive the $65 million that avoided reporting negative

EBIDTA for Q3, Moreno relied on “AR Adjustments”—and it was no coincidence that the $64.8

million revenue number in Moreno’s October 6 spreadsheet came within a hair of the $65 million

revenue number presented to Fleming on October 3. See Opp. App. Ex. 37. It was also no

coincidence that Moreno’s October 6 revenue figure of $64.8 million is within a hair of the $64.652

million of revenue reported by Nobilis in its Form 10-Q For the quarter ended September 30, 2017,

which was filed on November 6, 2017 and certified by Young as CFO and Fleming as CEO. See

Opp. App. Ex. 55, at p. 12.

       Moreno’s upsized revenue estimate achieved the target by including more than $11 million

of 365+ AR in the revenue calculation, which increased net income and EBITDA (and the reported

value of AR). A comparison of Nobilis’s Form 10-Q for the period ending September 30, 2017

(Q3), with a Company-prepared AR aging report (covering six quarters ending March 31, 2017 to



                                                25
Case 21-51183-CTG   Doc 221   Filed 11/06/23   Page 32 of 90
            Case 21-51183-CTG         Doc 221       Filed 11/06/23   Page 33 of 90




 $0 365+ AR, the Company’s 2017 Q3 financials, its 2017 Form 10-K financials and subsequent

 financials and public filings included 365+ AR and assumed that, on average, the Company would

 collect 75% of these old receivables. See, e.g., Opp. App. Ex. 1 (Young Dep. Tr. I at pp. 78-80);

 Opp. App. Ex. 46, at DEFENDANTS_0000724 (Edwards email dated 3/3/2018, “Looking

 forward into Q1 and Q2, 2018, since the Company changed their accounts receivable /revenue

 estimate to include over 365 day claims then you should re-visit the discount rate because it

 currently stops at 25% at the 365 mark.”). In reality, the Company had no historical experience

 to support any such assumption, and ample experience to establish the opposite. See, e.g., id.

 (discussing lack of support for the 365+ AR policy); Opp. App. Ex. 47], at

 DEFENDANTS_00004762 (email dated 2/26/18 from Crowe National Partner Todd Spaanstra

 to Young, Moreno, and Crowe partners, “The cash waterfall does not entirely support the

 company’s premise that it has had ‘success’ in collecting these old amounts. I see generally 1%

 to 3% of revenue collected beyond 1 year for these 4 [hospitals reporting $13.6M of 365+ AR]”);

 see also Opp. App. Ex. 1 (Young Dep. Tr. I at pp. 181-182) (Young testimony that he is not aware

 of any data sets submitted to Crowe showing a collection rate higher than 1% to 3%).

       Nor was the AR adjustment informed contemporaneously with any analysis which would

support reversal of the historical (and SOX Narrative) policy requiring the write down to $0 of

365+ AR. The critical accounting policy change was made in the third quarter of 2017,19 yet there

was no analysis, analytics, or testing supported by data that was performed contemporaneously to

support that change. See, e.g., Opp. App. Ex. 78 (Moreno Dep. Tr. II at p. 98 (“Q. And you . . .

can’t identify any documentation that you may have prepared back in connection with the third




19
       See, e.g., Opp. App. Ex. 1 (Young Dep. Tr. I at pp. 70, 75-76); Opp. App. Ex. 14 (Moreno
Dep. Tr. I at p. 75).
                                               27
            Case 21-51183-CTG          Doc 221       Filed 11/06/23    Page 34 of 90




quarter of 2017, correct? A. To my recollection, no, nothing comes to mind.”); see also Opp.

App. Ex. 14 (Moreno Dep. Tr. I at p. 101).




                       . See Opp. App. Ex. 81 (February 2018 Memo); Opp. App. Ex. 78 (Moreno

Dep. Tr. II at pp. 96-98) (Moreno’s testimony confirming that the February 2018 memo was

prepared at Crowe’s request). Since the February 2018 Memo discusses



             . See, e.g., Opp. App. Ex. 81, at pp. 2, 5, 7. It is clear that management made the

change without support, and then five months later searched for support to defend it.20 By the time

Defendant Moreno updated the February 2018 Memo for the third quarter of 2018, it indicated in

the “Resolution” section at the end of the memorandum that Nobilis would be returning to the

policy of reducing significantly aged receivables to a net zero-dollar value—further confirming

that there was no basis to change the policy in the first place. See Opp. App. Ex. 29, at

DEFENDANTS_00004927 (updated memo dated October 31, 2018, concluding that Nobilis

would return to the policy of reducing significantly aged receivables to a net zero-dollar value).

       The cooked financials not only misled the public, who relied on them to transact business



20




                                                       . See Opp. App. Ex. 83 (Devor Report), at
¶¶ 92-95.

                                                                                 ). Id. at ¶ 95.
                                                28
              Case 21-51183-CTG        Doc 221       Filed 11/06/23    Page 35 of 90




with the Company, they were used effectively to dupe BBVA into closing the Term B Loan. On

October 16, 2017, Moreno sent BBVA Nobilis Q3 2017 financial statements that included $11.5

million in 365+ AR, but failed to disclose the reversal of the Company’s critical accounting policy

and historical practice of writing down to $0 365+ AR.                See Opp. App. Ex. 48, at

BBVA_00036252, BBVA_00036253_000001-02 (reporting $112,402,000 in trade accounts

receivable and $64,652,000 of total revenue, the same numbers reported in the Company’s Form

10-Q for Q3 2017).21

        Adding in the 365+ AR avoided a covenant breach under the applicable Credit Agreement.

See, e.g., Opp. App. Ex. 49 (Younger Dep. Tr. at p. 40) (testimony of BBVA’s Director for

Corporate and Syndicated Finance that,



               ; Opp. App. Ex. 51 (McCurdy Dep. Tr. at pp. 449-50) (testimony of BBVA Senior

Vice President that “if they had omitted their over 365 AR, they would have been in default for

the third quarter of 2017 under both [the fixed charge coverage ratio and leverage ratio]” under the

credit facility).




                                                                                                   ,



21
        Two days after Moreno sent these financials to BBVA, Fleming was touting the
Company’s stellar financial performance to third parties as compared to 2016 Q3, using the phony
2017 Q3 financials. Opp. App. Ex. 53 (10/18/2017 email from Fleming, “We are just finalizing
our Q3 numbers (ebitda up 45% over Q3 2016).”).
22
        Once operations were back to normal, Nobilis’s management expected to capture this
revenue in 2017 Q4, as nearly all of the impacted appointments and procedures were rescheduled.
See infra Section II.J.3.
                                                29
            Case 21-51183-CTG            Doc 221      Filed 11/06/23   Page 36 of 90




See Opp. App. Ex. 84, at Item 4                                         Opp. App. Ex. 85, at p. 1

                                                                            Opp. App. Ex. 77, at

Nobilis_00456202                                                  see also Opp. App. Ex. 86 (Devor

Rebuttal Report), at ¶¶ 13-14.23




                                                        See Opp. App. Ex. 49 (Younger Dep. Tr. at

pp. 31-36, 40); Opp. App. Ex. 50 (Consoli Dep. Tr. at pp. 29, 43-44, 53-54, 74-76, 112-114, 120-

123) (testimony of BBVA Executive Vice President); Opp. App. Ex. 51 (McCurdy Dep. Tr. at pp.

113-115, 447-450, 507).

       G.      Material Misstatements and False Certifications Made In Connection With
               Nobilis’s Financial Statements

       The critical accounting policy change concerning 365+ AR was not disclosed in the

Company’s Form 10-Q for 2017 Q3:

               Q.     ...Can we agree that the company’s financial statements for
                      the third quarter of 2017 retained a portion of 365 plus AR
                      for certain facilities?

               A.     Yes, sir.

               Q.     And can we agree that the company’s 10-Q for the third
                      quarter of 2017 did not disclose that there had been a
                      change as to how the company dealt with 365 plus AR?

               A.     That’s correct.


23



                                   See Opp. App. Ex. 86 (Devor Rebuttal Report), at ¶ 15; Opp. App.
Ex. 85, at p. 1                                                           Opp. App. Ex. 77, at
Nobilis_00456202
                                                 30
               Case 21-51183-CTG         Doc 221          Filed 11/06/23   Page 37 of 90




Opp. App. Ex. 78 (Moreno Dep. Tr. II at p. 72) (emphasis added). The Form 10-Q and the publicly

filed financial statements were false and misleading in material respects because the inclusion of

365+ AR resulted in material misstatements of revenue, income, and the value of accounts

receivable. See Opp. App. Ex. 83 (Devor Report), at ¶ 111 (“[A]ny adjustments Nobilis made to

the carrying value of accounts receivable reported on its balance sheet . . . would also directly

impact reported revenue. . . . Accordingly, as a result of . . . failing to write-down the net realizable

value of 365+ AR to a net zero-dollar value, there was a direct impact on the amount of revenue

reported. . .”). Moreover, “Note 2—Summary of Significant Accounting Policies” of the Form

10-Q falsely represented that “There have been no material changes to the Company’s critical

accounting policies or estimates from those disclosed in the 2016 Annual Report.” Opp. App. Ex.

55, at p. 7.

        Indeed, all financial statements included in Nobilis’s quarterly Forms 10-Q and annual

Form 10-K filed during the period November 6, 2017 through August 3, 2018 were materially

misstated because they overstated the net realizable value of 365+ AR. See Opp. App. Ex. 83

(Devor Report), at ¶¶ 8(a)-(e), 112. Nobilis should have restated its Forms 10-Q for 2017 Q3,

2018 Q1, and 2018 Q2, as well as its Form 10-K for 2017—but no such restatements were ever

filed. See id. at ¶¶ 104, 119; infra Section II.I.

                1.      Third Quarter 2017 Form 10-Q

        In the Form 10-Q for the third quarter of 2017 (filed November 6, 2017), Nobilis

improperly included approximately $11.6 million of 365+ AR in reported accounts receivable

as of September 30, 2017. See Opp. App. Ex. 55, at pp. 3, 14 (Form 10-Q for 2017 Q3, reporting

$112.4 million in trade accounts receivable); see also, e.g., Opp. App. Ex. 77, at Nobilis_00456202

(document confirming



                                                     31
             Case 21-51183-CTG          Doc 221       Filed 11/06/23    Page 38 of 90




       By doing so, Nobilis failed to comply with U.S. GAAP and materially misstated its

financial statements for the nine-month and three-month periods ending September 30, 2017:

               Specifically, (1) accounts receivable was overstated by 10%, (2)
               patient and net professional fee revenue for the nine-months
               ended September 30, 2017, was overstated by 6.1%, (3) total
               revenue for the nine-months ended September 30, 2017 was
               overstated by 5.7% and (4) Nobilis improperly reported
               approximately $1.7 million of income before taxes and
               noncontrolling interest for the nine-months ended September 30,
               2017 instead of loss of approximately $9.9 million.

 Opp. App. Ex. 83 (Devor Report), at ¶ 113; see also id. at ¶ 113 n. 105 (setting forth misstatements

 for three-month period ending September 30, 2017).

       In February 2018, during Crowe’s 2017 audit, Lockhart informed Nobilis’s management

 that the change to include 365+ AR should have been disclosed in the Form 10-Q for 2017 Q3,

 as well as in the 2017 Form 10-K (which at that point had not been filed yet). See Opp. App. Ex.

 19, at DEFENDANTS_00008794 (2/28/18 email to Young and Moreno, “We need to discuss

 why the policy change and the impact wasn’t disclosed in Q3 and also that these items should be

 disclosed in the 10K.”). Young forward the email to Rodriguez and Moreno, asking “I thought

 we did talk to them about this in Q3? Or is she referencing a disclosure in the 10Q?” Id. Moreno

 replied, “[Lockhart] said it should’ve been disclosed in Q3 that we extended our date range

 (‘policy change’) and surely need to have a disclosure in our 10k. Similar to last year’s disclosure,

 it should cover what changed, why it changed and the impact of the change.”                   Id. at

 DEFENDANTS_00008793. The failure to disclose the material accounting policy change

 concerning 365+ AR in the Form 10-Q for 2017 Q3 violated applicable SEC regulations—

 specifically, Item 303 of Regulation S-K. Opp. App. Ex. 83 (Devor Report), at ¶¶ 119-20.24



24
        In his expert report, Mr. Devor explains that the adjustments concerning 365+ AR were an
error, not a “change in estimate” as some of the Defendants have asserted. See Opp. App. Ex. 83
                                                 32
            Case 21-51183-CTG          Doc 221       Filed 11/06/23   Page 39 of 90




                2.     2017 Form 10-K

       In Nobilis’s Form 10-K for 2017 (filed March 12, 2018), Nobilis improperly included

approximately $21.3 million of 365+ AR in reported accounts receivable as of December 31,

2017. See Opp. App. Ex. 2, at p. 43 (2017 Form 10-K, reporting “Accounts receivable as of

December 31, 2017, totaled $144.5 million...”); Opp. App. Ex. 77, at Nobilis_00456202 (AR

aging report,                                                   .25 By doing so, Nobilis failed to

comply with U.S. GAAP and materially misstated its financial statements as of and for the

year ended December 31, 2017:

                Specifically, (1) accounts receivable was overstated by 15%, (2)
                patient and net professional fee revenue for 2017 were overstated
                by 8.1%, (3) total revenue for 2017 was overstated by 7.6% and
                (4) income before taxes and noncontrolling interest for 2017 was
                overstated by 1053%.

Opp. App. Ex. 83 (Devor Report), at ¶ 114. “This $21.3 million of 365+AR was also material

because it reflected an increase of approximately 84% from the 365+AR outstanding as of

September 30, 2017.” Id. at ¶¶ 114-15; see also Opp. App. Ex. 47, at DEFENDANTS_00004762

(2/26/18 email from Spaanstra concerning 365+ AR, “These are big numbers, on top of an

accounting policy change – so lots to consider in a short period of time.”)




(Devor Report), at ¶¶ 46, 104, 119. However, even if the policy change is considered a “change
in estimate” as defined by GAAP, then it was still required to be disclosed under GAAP
(specifically, ASC-250-10-50-4) because it had material effects on income from continuing
operations, net income, and per share amounts. See id. at ¶ 119.
25
        The Audit Committee signed off on the financial statements in the 2017 Form 10-K. See
Opp. App. Ex. 87 (Schedule 14A filed 4/30/2018), at pp. 33-35 (Report of the Audit Committee,
stating “Based on its review, the Audit Committee recommended to the Board that the audited
financial statements for the Company’s year ended December 31, 2017 be included in our Annual
Report on Form 10-K for the year ended December 31, 2017...which was filed on March 12,
2018.”) (submitted by all committee members, including Ozonian as Chairman).
                                                33
            Case 21-51183-CTG          Doc 221       Filed 11/06/23    Page 40 of 90




       The Form 10-K for 2017 contained a footnote called “Summary of Significant Accounting

Policies” which, in a purported effort to disclose the change in accounting policy, stated:

               On a periodic basis, we evaluate receivables based on the age of the
               receivable, history of past collections and current credit and
               economic conditions and adjust the carrying amount accordingly.
               An account is written off when it is determined that all collection
               efforts have been exhausted. . . . An allowance for uncollectible
               patient receivables balances, including receivables from non-partner
               surgeons, is maintained at a level which the Company believes is
               adequate to absorb probable credit losses.

Opp. App. Ex. 2, at p. 53. However, this disclosure was still false and inaccurate, because it does

not faithfully represent how management was evaluating the collectability of receivables and

continues to fail to disclose, in violation of GAAP, the material change in how it accounted for

365+ AR.26 It also fails to properly describe, in violation of Item 303 of Regulation S-K, that a

significant component of revenue resulted from the change in accounting policy. See Opp. App.

Ex. 83 (Devor Report), at ¶¶ 125-26.

               3.      First Quarter 2018 Form 10-Q

       In the Form 10-Q for the first quarter of 2018 (filed May 8, 2018), Nobilis improperly

included approximately $32.1 million of 365+ AR in reported accounts receivable as of March

31, 2018. See Opp. App. Ex. 88, at p. 3, 13 (Form 10-Q for 2018 Q1, reporting trade accounts



26
       Management was not analyzing age, collection history, current conditions, or other factors
in deciding whether to continue carrying receivables; rather, they were applying a blanket 25%
discount which, as Crowe pointed out just days before the 2017 Form 10-K was filed, was
unsupported by historical data. See Opp. App. Ex. 47, at DEFENDANTS_00004762 (2/26/18
email from Spaanstra to Young, Moreno, and others, discussing lack of historical data showing
old amount were collectible, and noting “the old methodology appeared to working effectively and
not understating revenue”); Opp. App. Ex. 46, at DEFENDANTS_00000724 (3/3/18 email from
Edwards Moreno, Young, Rodriguez, and others, discussing lack of historical data and advising
management to rethink their current 25% discount rate). Furthermore, continuing to carry 365+
AR on the books violated the SOX Revenue Recognition Narrative requiring they be written down
to $0—a policy which remained in effect and had not been suspended or reversed by the Audit
Committee. See Opp. App. Ex. 52 (Ozonian Dep. Tr. at pp. 49-50).
                                                34
            Case 21-51183-CTG        Doc 221      Filed 11/06/23   Page 41 of 90




receivable totaling $133,362,000); Opp. App. Ex. 77, at Nobilis_00456202 (AR aging report,

                                                   By doing so, Nobilis failed to comply with

U.S. GAAP and materially misstated its financial statements as of and for three-months ended

March 31, 2018:

              Specifically, (1) accounts receivable were overstated by 24%, (2)
              patient and net professional fee revenue for the three-months
              ended March 31, 2018, were overstated by 102.4%, (3) total
              revenue for the three-months ended March 31, 2018, was
              overstated by 99.4% and (4) the loss before taxes and
              noncontrolling interest for the three-months ended March 31,
              2018, was understated by 836%.

Opp. App. Ex. 83 (Devor Report), at ¶ 116. The $32.1 million of 365+ AR was material because

it reflected a 51% increase over 2017 Q4, and a 178% increase over 2017 Q3. Id.

       The Form 10-Q for 2018 Q1 states that “There have been no material changes to the

Company’s critical accounting policies or estimates from those disclosed in the 2017 Annual

Report.” Opp. App. Ex. 88, at p. 6. This disclosure was false and misleading, since the

disclosures in the 2017 Form 10-K annual report continued to be false and misleading. See Opp.

App. Ex. 83 (Devor Report), at ¶¶ 127-28.

              4.     Second Quarter 2018 Form 10-Q

       In the Form 10-Q for the second quarter of 2018 (filed August 3, 2018), Nobilis

improperly included approximately $38.75 million of 365+ AR in reported accounts

receivable as of June 30, 2018. See Opp. App. Ex. 79, at pp. 3, 14 (Form 10-Q for 2018 Q2,

reporting trade accounts receivable totaling $143,699,000); Opp. App. Ex. 77, at

Nobilis_00456202 (AR aging report,                                                  By doing

so, Nobilis failed to comply with U.S. GAAP and materially misstated its financial statements

as of and for three months ended June 30, 2018:



                                             35
               Case 21-51183-CTG       Doc 221       Filed 11/06/23    Page 42 of 90




                Specifically, (1) patient and net professional fee revenue for the
                three-months ended June 30, 2018, was overstated by 150.6%,
                [2] total revenue for the three-months ended June 30, 2018 was
                overstated by 127.3% and [3] reported income before taxes and
                noncontrolling interest for the three-months ended June 30, 2018
                of $2.2 million should have been a loss of approximately $36.5
                million.

Opp. App. Ex. 83 (Devor Report), at ¶ 117. The $38.75 million of 365+ AR was material

because it represented an increase of 21% over 2018 Q1, 82% over 2017 Q4, and 235% over

2017 Q3. Id.

       The Form 10-Q for the second quarter of 2018 again states that “There have been no

material changes to the Company’s critical accounting policies or estimates from those disclosed

in the 2017 Annual Report.” Opp. App. Ex. 79, at p. 7. This disclosure was false and misleading,

since the disclosures in the 2017 Form 10-K annual report continued to be false and misleading.

See Opp. App. Ex. 83 (Devor Report), at ¶¶ 130-31.

                5.     False SOX Certifications Provided By Fleming and Young

       Defendants Fleming and Young provided false SOX certifications for the Forms 10-Q for

2017 Q3, 2018 Q1, and 2018 Q2, and the Form 10-K for 2017. In this regard, Fleming (as CEO)

and Young (as CFO) certified for each filing that Nobilis had designed and maintained effective

“disclosure controls and procedures” and “internal control over financial reporting,” that Nobilis’s

financial reporting was reliable and accurate, and that the financial statements were prepared in

accordance with U.S. GAAP. See:

           •    2017 Q3 Form 10-Q filed 11/6/2017: Opp. App. Ex. 55, at Exhibits 31.1 and 32.1

                (Fleming certifications) and Exhibits 31.2 and 32.2 (Young certifications);

           •    2017 Form 10-K filed 3/12/2018: Opp. App. Ex. 2, at Exhibits 31.1 and 32.1

                (Fleming certifications) and Exhibits 31.2 and 32.2 (Young certifications);


                                                36
                Case 21-51183-CTG       Doc 221       Filed 11/06/23   Page 43 of 90




            •    2018 Q1 Form 10-Q filed 5/8/2018: Opp. App. Ex. 88, at Exhibits 31.1 and 32.1

                 (Fleming certifications) and Exhibits 31.2 and 32.2 (Young certifications); and

            •    2018 Q2 Form 10-Q filed 8/3/2018: Opp. App. Ex. 79, at Exhibits 31.1 and 32.1

                 (Fleming certifications) and Exhibits 31.2 and 32.2 (Young certifications).

Given the material misstatements and omissions, these sworn certifications were false. See Opp.

App. Ex. 83 (Devor Report), at ¶¶ 132-34.

       H.        Deficiencies in Crowe’s Quarterly Review Procedures and Audits

       Edwards testified that she learned about the reversal of the critical accounting policy and

historical practice of writing down to zero 365+ AR for purposes of the Company’s financial

statements public filings when it began work on the audit for Nobilis’s Form 10-K for 2017, which

was filed March 12, 2018. See Opp. App. Ex. 89 (Edwards Dep. Tr. II at pp. 37-43) (Edwards

testimony that

      ; see also Opp. App. Ex. 17 (Lockhart Dep. Tr. at pp. 31-32, 57) (Lockhart testimony that

                                                                                   ; Opp. App. Ex.

47, at DEFENDANTS_00004762 (2/26/18 email from Spaanstra discussing 365+ AR, “These are

big numbers, on top of an accounting policy change . . . Obviously this is a new concept and we

were just made aware of this just a little while ago.”).

       However, Crowe had received aging schedules earlier than that—during its 2017 Q3

quarterly review—which indicated that 365+ AR was being included in the financials. See, e.g.,

Opp. App. Ex. 90 (Q3 AR analysis                                                               And

Edwards also testified

                                                                               . See Opp. App. Ex.

15 (Edwards Dep. Tr. I at p. 50-51).


                                                 37
             Case 21-51183-CTG        Doc 221       Filed 11/06/23   Page 44 of 90




        The Trustee’s expert examined Crowe’s workpapers pertaining to its quarterly reviews and

2017 audit



                      See Opp. App. Ex. 83 (Devor Report), at ¶ 135.




See id.; see also, e.g., Opp. App. Ex. 65, at CROWE0002636, Items 15 and 17 (2017 Q3 client

inquiry workpaper

                                        ; Opp. App. Ex. 82 (concerning 2017 Q3 review testing,

                                             ; Opp. App. Ex. 91 (Summary and Evaluation of

Deficiencies workpaper for 2017 Year End,

        For Crowe’s 2017 year-end audit,




                                                                         . See Opp. App. Ex. 83

(Devor Report), at ¶ 135; see also Opp. App. Ex. 18 (Lockhart memo to file re: “AFDA and

Lookback Analysis,”

                           As collections further deteriorated in the first and second quarters of

2018,



27
        See Opp. App. Ex. 83 (Devor Report), at ¶ 135.
                                                     (see Opp. App. Ex. 81, at
DEFENDANTS_00004875), but purposely left it out of his April 2018 update to the memo
                                               38
            Case 21-51183-CTG          Doc 221          Filed 11/06/23   Page 45 of 90




                                                                                            . See

Opp. App. Ex. 83 (Devor Report), at ¶ 135 (discussing Opp. App. Exs. 92 and 93).

       The meeting minutes of an Audit Committee meeting held on March 7, 2018



See Opp. App. Ex. 95 (Minutes of Audit Committee Meeting Held March 7, 2018, the attendees

of which included, inter alia, Ozonian, Fleming, Young, Rodriguez, Moreno, Lockhart, and

Edwards;

                                                    (emphasis added). The meeting minutes of the

Audit Committee’s May 7, 2018

                                                          . See Opp. App. Ex. 92 (Minutes of Audit

Committee Meeting Held May 7, 2018, the attendees of which included, inter alia, Ozonian as

“Chair” and Edwards, Lockhart, and Spaanstra from Crowe). The “Auditor Report” from Crowe

reflected in the minutes included the following:

               .




because the results were unfavorable. See Opp. App. Ex. 94 (4/25/18 email from Moreno to Young
attaching draft of updated memo and noting “I didn’t include a sub-cash update as it turned
unfavorable due to recoups at NHSC-S (currently negative 350k on 2016 AR)”).
                                                   39
              Case 21-51183-CTG        Doc 221       Filed 11/06/23    Page 46 of 90




                                                                               .

Id. Despite this information, there is no evidence that Ozonian took action to ensure compliance

with the policy requiring 365+ AR be written down to $0, and the Company continued to issue

public filings—such as the 10-Q for 2018 Q2, filed in August 2018—containing misstatements as

to 365+ AR.

       In addition to these deficiencies and/or red flags identified above, Nobilis’s management

had an acrimonious relationship with Crowe. For example, in a board presentation regarding the

Company’s 2016 Key Accomplishments and the 2017 Strategic Plan, Fleming reported that he had

“[b]attled with Crowe” to release 2016 third quarter numbers and in fact threatened Crowe with

litigation to get them to “implicitly” approve the results.           See Opp. App. Ex. 57, at

NOB.EML_00138209 (listing as the first “Corporate/Management Highlight[]”: “Battled with

Crowe to release Q3: had to threaten Crowe with a lawsuit to release the Q3 results. By getting

Crowe to formally comment on our 8K report . . . they implicitly approved the Q3 results so we

quickly filed our 8K which put them in an untenable position to withhold the financials, forcing

them to agree to the release”). At one point, Nobilis wanted to change auditors, but Crowe would

not sign off on the change, and the Company decided it was not worth the time and cost to obtain

a shareholder vote to change auditors. See Opp. App. Ex. 4 (Fleming Dep. Tr. I at pp. 135-36).

       Nobilis’s management regularly questioned Crowe’s competency. For example, in a

March 4, 2017 email discussing an upcoming meeting with Crowe, Defendant Rodriguez bragged:

               . . . I wish I had video taped our meeting with Crowe Audit Partner
               and Senior Manager. We blasted them on how terrible their team
               was, unprofessional “worst client service ever” and how their results
               are unfounded.

               It will be my pleasure to go Round 2 on them but if I can’t go I’m
               confident Clayton [Kamin, Nobilis’s Director of Internal Audit]

                                                40
            Case 21-51183-CTG          Doc 221       Filed 11/06/23    Page 47 of 90




               will make them his bitch.

Opp. App. Ex. 59, at NOB.EML_00455945_0001.               In another email concerning Crowe’s

assessment of the Company’s internal controls relating to revenue cycle controls and evaluation

of doubtful accounts, Rodriguez attacked Crowe’s competence, expressed that the Crowe partners

working on the matter “d[id] not have the expertise or intelligence to conclude on [SOX

compliance] issues,” and described a plan “to embarrass [Crowe] and make them our bitches.”

Opp. App. Ex. 58, at DEFENDANTS_00005865 (3/12/17 email from Rodriguez to Young,

copying Kamin).28

       I.      The Company’s Collapse

       Collections were dismal throughout 2018 and 365+ AR increased.29 The Company missed

the filing deadline for its Form 10-Q for the third quarter of 2018. See, e.g., Opp. App. Ex. 96

(Form 8-K for 11/15/2018). It filed a request for additional time and a Press Release reporting that

the Company and its auditor needed additional time to complete their review of the Company’s

financial statements for the period. See Opp. App. Ex. 66 (Form 8-K for 11/9/2018); Opp. App.

Ex. 67 (Press Release dated same). The Press Release stated that “[t]he Company is re-evaluating

the Net Realizable Value on its Accounts Receivable and intends to make a significant adjustment

to the carrying value of accounts receivable, primarily on out of network claims greater than 365

days old….We are deeply disappointed by the slow pace of our collection efforts that have



28
       In June 2017, Young asked Crowe to resign, but ultimately kept Crowe as auditors after
Crowe refused to resign, because firing Crowe would have resulted in unpleasant SEC disclosures.
See Opp. App. Ex. 60, at NOB.EML_00133254_001-04 (June-July 2017 email discussion between
Young and Laura Edwards and Tom Jones of Crowe).
29
       Nobilis’s 365+ AR went from $11.6 million as of September 30, 2017 (10% of total AR)
to $20.4 million as of December 31, 2017 (14% of total AR), and then continued to grow through
2018, with 365+ AR totaling $26.2 million (20% of total AR) as of March 31, 2018, and $38.8
million (27% of total AR) as of June 30, 2018. See Opp. App. Ex. 88 (2018 Q1 Form 10-Q), at p.
13; Opp. App. Ex. 79 (2018 Q2 Form 10-Q), at p. 14; Opp. App. Ex. 45, at Nobilis_00407947.
                                                41
             Case 21-51183-CTG        Doc 221       Filed 11/06/23   Page 48 of 90




resulted in this impact to our receivables, which will have a significant negative impact on our

financial results for 2018.” Id.

       By January 2019, Nobilis had identified $71.9 million in total accounts receivable which

needed to be written off, pertaining to claims from 2016 ($22.3 million), 2017 ($37.05 million),

and 2018 ($12.5 million).30 See Opp. App. Ex. 99, at NOB.EML_00094324_0038 (email dated

1/23/19 from Moreno to Daniel Wiggins, attaching presentation identifying $71.9 million in total

AR write-down, with break down by year and footnote stating “AR policy changed made [sic] late

2017 whereby we no longer reserve at 100% AR >365 days is the primary drive of AR

adjustment”); see also Opp. App. Ex. 100 (email dated 1/22/19 from Moreno to Wiggins stating

that $49.6 million of the $71.9 million write down was “Due to change in > 365 policy”); Opp.

App. Ex. 70, at DEFENDANTS_00003063 (BBVA Approval Request Memorandum dated

3/28/2019, attaching, inter alia, “Accounts Receivable Write-Off Summary”).

       In November 2018, Crowe had required Nobilis to hire a third-party to perform an

“assessment on the change in estimate/error and views on fraud to ensure the timing of the

proposed write offs are reflected in the appropriate period.” Opp. App. Ex. 101 (11/30/2018 email

from Edwards to Ken Klein, copying Moreno and others); Opp. App. Ex. 102 (11/29/2018 email

from Klein to Ozonian, Fleming, Efird, Moreno, and others). Nobilis retained Garcia & Longoria,

and Joseph Longoria (Accountant) performed the assessment. See Opp. App. Ex. 103 (Longoria

Dep. Tr. at pp. 11-15); Opp. App. Ex. 104 (Engagement letter). During the course of his work,

Mr. Longoria shared various memoranda with Defendant Moreno which suggested, among other



30
        At BBVA’s insistence, the Company had engaged MorrisAnderson, a consulting and
restructuring firm, in November 2018 to perform an assessment of Nobilis’s financial condition
and business enterprises. See Opp. App. Ex. 97 (Wiggins Dep. Tr. at pp. 11-15).



                                               42
            Case 21-51183-CTG          Doc 221       Filed 11/06/23    Page 49 of 90




things, that there were errors in previously-filed financial statements and that a material weakness

existed resulting in the revision to the 365+ AR Policy. See Opp. App. Ex. 105 (1/9/2019 email

from Longoria to Nobilis’s VP of Accounting Daniel Ramsier, copying Moreno and Klein and

attaching “three draft memos for review”). For example, one of the memorandums prepared by

Mr. Longoria concluded as follows:

               Conclusion

               Management did not have an adequate history of collections of
               accounts > 365 days to use as a basis to develop a reasonable
               estimate of the net realizable value of the AR > 365 days. Besides
               a lack of quantitative history/experience, the Company, at December
               31, 2017, did not factor the significant aging of receivables into the
               determination of the adjustment to net realizable value under the
               new policy. Generally, as claims get older, they are more difficult
               to collect, including working denials or finding data needed to clear
               denials with third-party payors. Additionally, with the move of the
               CBO in-house, there was no consideration related to issues or delays
               caused by the transition, which are encountered with such a
               significant change. Management at the time used collection rates on
               accounts receivable less than 365 days to estimate the net realizable
               value of the accounts receivable >365 days. Based on the
               information evaluated by Nobilis (quantitative and qualitative),
               collection of the >365 could not be reasonably assured at December
               31, 2017. Therefore, there was a misapplication of revenue
               recognition by Nobilis at December 31, 2017 which resulted in an
               error in the financial statements.

               Nobilis concludes therefore, to restate its December 31, 2017
               financial statements and 10-K filing. This restatement is to reflect
               an appropriate estimate of the net realizable value of the accounts
               receivable > 365 days. Given the lack of basis for establishing the
               collectability at December 31, 2017, Management will adjust the net
               realizable value of these accounts receivable to zero and establish a
               policy that requires this going forward, until such time as an
               adequate basis to establish collectability can be determined. This
               policy will also be applied to any 2018 financial statements and SEC
               filings issued.

Id. at LONGORIA0000549.4 (Conclusion of Memo “Re: Identification of an Error and

Accounting Treatment”). Another memorandum prepared by Mr. Longoria, concerning the

                                                43
            Case 21-51183-CTG          Doc 221       Filed 11/06/23    Page 50 of 90




assessment of internal controls, concluded that a restatement of Nobilis’s 2017 Form 10-K and

Forms 10-Q for 2018 Q1 and 2018 Q2 was necessary. See id. at LONGORIA0000555.1-555.4.31

Concerning the internal controls, Mr. Longoria’s memorandum stated the following:

              Control Failure

              Nobilis changed its estimate process and reserve policy for accounts
              receivable >365 days at December 31, 2017. There are three control
              failures that contributed to the error.

              First, the process to evaluate this estimate failed to consider the
              valuation assertion as it relates to estimating the net realizable value
              of accounts receivable. Nobilis utilized the same process it used for
              accounts receivable less than 365 days and did not design the
              process appropriately. There should have been appropriate
              documentation of the change and approval by appropriate levels of
              management.

              Secondly, the financial reporting process did not evaluate the change
              in policy / estimate under GAAP. There should have been a control
              to identify the change in policy / estimate and to evaluate to ensure
              appropriate GAAP was applied.

              Finally, the financial reporting process did not identify the
              requirement to disclose in the 10K the material change in
              policies/estimates under ASC 250. The disclosure checklist was
              completed but this item was not identified. The control was
              designed appropriately but the individuals performing the control
              and reviewing the control were not adequate.

Id. at LONGORIA0000555.2-555.3. Mr. Longoria never completed the work contemplated in his

memoranda and was never asked to finalize any documents. See Opp. App. Ex. 103 (Longoria

Dep. Tr. at pp. 12-13). Rather, in or around March 2019, Moreno told him to stop working on the

project. See id. at p. 42 (Longoria: “Brandon asked me to stop working on this. . . . [T]hey were




31
       This memo is mistakenly titled “Fraud Memo related to Identification of an Error and
Restatement of Financial Statements,” but the substance of the memo and Longoria’s testimony
confirms that it concerns internal controls. See Opp. App. Ex. 103 (Longoria Dep. Tr. at pp. 26-
27).
                                                44
            Case 21-51183-CTG         Doc 221       Filed 11/06/23   Page 51 of 90




working on closing the books. They were working on multiple potential buyers. And the priority

just dropped.”).

       The Company never made the 2018 Q3 Form 10-Q filing and made no further SEC filings

before being delisted from the stock exchange and filing for bankruptcy. See Opp. App. Ex. 68

(Form 8-K for 9/3/2019); Opp. App. Ex. 69 (Form 8-K for 5/30/2019); Opp. App. Ex. 106 (Form

25 filed 9/12/2019 by NYSE American LLC, Notification of Removal from Listing and/or

Registration).

       In a last-ditch effort to survive, the Company negotiated with potential capital providers

and sought a “Super Priority (‘Pre-Dip’) Facility” from the BBVA bank group to bridge the gap.

See Opp. App. Ex. 70, at DEFENDANTS_00003009. BBVA’s Approval Request Memorandum

sets forth a comprehensive Overview of Nobilis’s financial condition and the causes of Nobilis’s

ultimate demise—which included, among other things, liquidity problems, collection issues, A/R

write-downs, failed acquisitions, and cash burn.      See id. at DEFENDANTS_00003012-13,

DEFENDANTS_00003030.

       The Company defaulted under its credit facility and entered into a series of forbearance

agreements, with the forbearance period under the Fourth Forbearance Agreement expiring as of

August 30, 2019. See Opp. App. Ex. 107 (Form 8-K for 9/24/2019), at Item 2.04. Shortly after,

on September 24, 2019, BBVA delivered a notice of acceleration to the Company declaring that,

as a result of various defaults under the credit agreement and the termination of the forbearance

period, all of the obligations under the Company’s credit facility were immediately due and

payable—amounting to $123,206,250, plus interest, fees, and other obligations under the relevant




                                               45
            Case 21-51183-CTG          Doc 221       Filed 11/06/23   Page 52 of 90




agreements. Id.32 Debtors filed for bankruptcy on October 21, 2019.

       J.      By Cooking the Books, Defendants Caused the Company’s Demise

               1.      Consequences of the 365+ AR Policy Change and Adjustment

      There are a number of direct, as well as indirect, consequences associated with Nobilis’s

management filing misstated financial statements and, in the end, having to write off huge 365+

AR balances. As the Trustee’s expert opined, these consequences “demonstrate that these

misstatements were indeed the cause of the Company’s loss of value and its eventual bankruptcy.”

Opp. App. Ex. 86 (Devor Rebuttal Report), at ¶ 26. These consequences to the Company included:

               •    Needing to hire MorrisAnderson (as required by BBVA) to evaluate and

                    improve operations and financial performance33;

               •    Needing to hire Garcia & Longoria (as required by Crowe) to perform

                    accounting and fraud assessments;

               •    Inability to file required Forms 10-Q or 10-K from 2018 Q3 forward caused by

                    reassessment of the 365+ AR policy change;

               •    Covenant violations under the Credit Agreement, which could not be cured and

                    required Nobilis to enter into at least four Limited Waivers with BBVA34;

               •    Inability to pay principal and interest payments due under the Credit


32
       The same day, the 44th Judicial District Court of Dallas County, Texas, entered an order
appointing Howard Marc Spector as the temporary Receiver for all of the assets of Nobilis,
Northstar Healthcare Acquisitions, L.L.C., and certain subsidiaries of the Company, as guarantors,
under the Company’s Credit Agreement dated October 28, 2016 (as amended) and the Company’s
Super Priority Credit Agreement dated May 22, 2019, with BBVA and other lenders. See Opp.
App. Ex. 107 (Form 8-K for 9/24/2019), at Item 1.03.
33
       Daniel Wiggins of MorrisAnderson eventually became the Company’s Chief Restructuring
Officer. See Opp. App. Ex. 97 (Wiggins Dep. Tr. at pp. 19, 90).
34
       See Opp. App. Exs. 108 through 111 (Limited Waiver[s] to Credit Agreement,



                                                46
               Case 21-51183-CTG         Doc 221       Filed 11/06/23   Page 53 of 90




                      Agreement, causing BBVA, as Administrative Agent, to declare Nobilis in

                      default and necessitating multiple forbearance agreements35;

                 •    Masking of the Company’s true liquidity and financial condition, as the

                      eventual write-down meant substantially lower cash flow than originally

                      reported; and

                 •    Concerns from investors related to the growing 365+ AR balances.36

Opp. App. Ex. 86 (Devor Rebuttal Report), at ¶¶ 26-32. These type of events are “known to

contribute to the demise of public companies” and caused the eventual bankruptcy of Nobilis. Id.

at ¶ 32.

                 2.      Damages Suffered By Nobilis

           The Trustee’s expert calculated the damages resulting from Defendants’ breaches of

fiduciary duty as approximately $250.3 million. See Opp. App. Ex. 83 (Devor Report), at ¶¶ 147-

48; Opp. App. Ex. 86 (Devor Rebuttal Report), at ¶ 41. Devor reached this amount by calculating

the enterprise value of Nobilis as of June 30, 2017—the quarter-end prior to when the materially

misstated financial statements were first filed—and subtracting Nobilis’s liquidation proceeds

from that amount. See Opp. App. Ex. 83 (Devor Report), at ¶ 145 (“[A] reasonable method for



35
           See, e.g., Opp. App. Exs. 112 and 113 (Limited Conditional Forbereance Agreements,

                                .
36
        For example, on August 20, 2018, Robert Gibson, Head of Research at PI Financial Corp.,
emailed Young, Moreno, and Cole Stevens (Nobilis Investor Relations Manager) the following:
“I continue to get calls on your trade accounts receivable greater than 365 days. Going from $20.4
million Dec/17, to $26.2 million March/18, then jumping to $38.8 million June/18. Especially
because bad debt expense last year was $0. How much of this is ASC 606? Any colour would be
helpful. Also, any public information you could provide on this amount would certainly provide
comfort to shareholders and help the share price.” Opp. App. Ex. 124. When Young proposed
several talking points that could be provided in response, Stevens noted that Young’s points were
“very similar to what we have provided investors, whom have reached out to discuss our current
A/R position as of 6/30.” Id.
                                                  47
            Case 21-51183-CTG          Doc 221       Filed 11/06/23    Page 54 of 90




determining damages to the Company is to estimate the enterprise’s value prior to any purported

financial misstatement by management and compare that value to Nobilis’ financial condition and

liquidation value, as measured by the liquidation proceeds and value of unliquidated assets.”); see

also id. at ¶¶ 141-57 (describing Devor’s methodology); Opp. App. Ex. 86 (Devor Rebuttal

Report), at ¶ 41 (reaching $250.3 million by deducting $34.7 million of liquidation proceeds from

Nobilis’s $285 million enterprise value).37

               3.      Hurricane Harvey Did Not Cause the Company’s Collapse

       Attempting to divert attention from the well-known devastating impact to public companies

from the filing of false financial statements, Defendants halfheartedly blame Nobilis’s demise on

Hurricane Harvey, which hit Houston on August 25, 2017. But the evidence demonstrates that

although Hurricane Harvey caused a temporary shutdown, it did not have a lasting material impact

on Nobilis’s operations. The August 2017 Report was issued before Hurricane Harvey hit and

painted a bleak picture of Nobilis’s financial performance—with estimated revenues $15.9 million

below budget. See Opp. App. Ex. 25, at NOB.EML_00191851 (report as of 8/20/2017). In an

email dated on September 28, 2017 about the 2017 Q3 finances, Moreno told Young, “[L]owest

volumes all year and we were heading that way before any hurricane hit.” Opp. App. Ex. 27, at

DEFENDANTS_00000907 (emphasis added).




37
        Devor’s Rebuttal Report also offers alternative calculations using: (i) a market value date
of November 8, 2018, which results in a greater enterprise value of $307 million and damages
amount of $272.3 million; and (ii) an enterprise value calculation that only includes interest-
bearing debt, which results in an enterprise value of $236 million and a damages amount of $201.3
million. See Opp. App. Ex. 86 (Devor Rebuttal Report), at ¶¶ 36-38, 41 n.36. Devor offered these
alternative calculations in response to certain criticisms lodged by Defendants’ expert Steven
Wolf, but, as described in the Rebuttal Report, these criticisms are wrong and, in any event, do not
change that there are over $200 million of damages at issue.
                                                48
                Case 21-51183-CTG        Doc 221       Filed 11/06/23     Page 55 of 90




           Hurricane Harvey caused Nobilis’s Houston area healthcare facilities to be shut down for

one week,

                                                                        See Opp. App. Ex. 114, at

CROWE0017685. However, an internal memorandum dated October 26, 2017 from Defendant

Rodriguez to the Accounting Files




                                 . See Id. at CROWE0017688. The internal memorandum goes on

to state




                                                                        Id. at CROWE0017685.39




38
       The internal memorandum also states
                           See Opp. App. Ex. 114, at CROWE0017688.
39
       Defendants also blame Nobilis’s demise on insurers decreasing out-of-network
reimbursements, but

                                                                                          Opp. App.
Ex. 115, at pp. 3-4. Additionally,



                                                   Opp. App. Ex. 116, at pp. 8-9, 12; see also Opp.
App. Ex. 86 (Devor Rebuttal Report), at ¶ 23.
                                                  49
            Case 21-51183-CTG          Doc 221       Filed 11/06/23    Page 56 of 90




III.   LEGAL STANDARDS

       Pursuant to Federal Rule of Civil Procedure 56, applicable to this adversary proceeding

through Federal Rule of Bankruptcy Procedure 7056, a party “may move for summary judgment,

identifying each claim or defense—or the part of each claim or defense—on which summary

judgment is sought,” and the Court shall grant summary judgment only “if the movant shows that

there is no genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law.” FED. R. CIV. P. 56(a); FED. R. BANKR. P. 7056. An issue is considered “genuine”

if there is “a sufficient evidentiary basis on which a reasonable jury could find for the non-moving

party,” and a factual dispute is considered “material” if it “might affect the outcome of the suit

under governing law.” Kaucher v. County of Bucks, 455 F.3d 418, 423 (3d Cir. 2006) (citing

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)). Of course, the Court must view all

facts and draw all reasonable inferences in favor of the non-moving party. In re Maxus Energy

Corp., 615 B.R. 62, 69 (Bankr. D. Del. 2020).

IV.    ARGUMENT

       Under Delaware law, corporate directors and officers owe the fiduciary duties of care and

loyalty to the corporation they serve. See Memorandum Opinion dated July 27, 2022 [D.I 75]

(“MTD Opinion”), at pp. 8-9; see also Gantler v. Stephens, 965 A.2d 695, 708-09 (Del. 2009)

(officers owe the same fiduciary duties as directors). The duty of care requires fiduciaries to

manage the company with the “care which ordinarily careful and prudent men would use in similar

circumstances” and not act with gross negligence. In re Walt Disney Co. Deriv. Litig., 907 A.2d

693, 749 (Del. Ch. 2005), aff’d, 906 A.2d 27 (Del. 2006). Gross negligence is defined as “reckless

indifference to or a deliberate disregard of the whole body of stockholders or actions which are

without the bounds of reason.” In re DSI Renal Holdings, LLC, 574 B.R. 446, 470 (Bankr. D. Del.



                                                50
              Case 21-51183-CTG          Doc 221       Filed 11/06/23    Page 57 of 90




2017).

         “[T]he duty of loyalty mandates that the best interest of the corporation and its shareholders

takes precedence over any interest possessed by a director [or] officer . . . and not shared by the

stockholders generally.” Cede & Co. v. Technicolor, Inc., 634 A.2d 345, 361 (Del. 1993). The

duty to act in good faith is subsumed within the duty of loyalty. Stone ex rel. AmSouth Bancorp.

v. Ritter, 911 A.2d 362, 370 (Del. 2006) (“[T]he requirement to act in good faith is a subsidiary

element, i.e., a condition, of the fundamental duty of loyalty.”) (internal quotation marks omitted).

Thus, “the fiduciary duty of loyalty is not limited to cases involving a financial or other cognizable

fiduciary conflict of interest.” Id. The duty of loyalty is also breached when fiduciaries fail to act

in the face of a known duty to act, or act in bad faith. See id.; In re Orchard Enters., Inc.

Stockholder Litig., 88 A.3d 1, 32-33 (Del. Ch. 2014).

         For claims that a fiduciary failed to adequately oversee or supervise corporate operations

(referred to as Caremark claims), a plaintiff must prove that either (i) “directors utterly failed to

implement any reporting or information system or controls,” or (ii) “having implemented such a

system or controls, consciously failed to monitor or oversee its operations, thus disabling

themselves from being informed of risks or problems requiring managerial attention.” See MTD

Opinion [D.I. 75], at p. 10 (citing, inter alia, In re Caremark Intern. Inc. Derivative Litig., 698

A.2d 959 (Del. Ch. 1996)); see also In re McDonald’s Corp. S’holder Derivative Litig., 289 A.3d

343, 349-50 (Del. Ch. 2023) (officers also have a duty of oversight, for matters within their area

of responsibility).

         There are genuine issues of material fact with respect to each Defendant’s breach of his

fiduciary duties and the resultant damage to Nobilis.




                                                  51
              Case 21-51183-CTG          Doc 221       Filed 11/06/23   Page 58 of 90




         A.     There Are Genuine Issues of Material Fact Concerning
                Whether Defendants Moreno, Young, Fleming, Efird, and
                Rodriguez Breached Their Fiduciary Duties In Relation to
                Material Misstatements

         Defendants Moreno, Young, Fleming, Efird, and Rodriguez participated in and were aware

of the effort to disregard the 365+ AR Policy for the purpose of creating upsized revenues and

falsely positive financial reports to avoid reporting a loss and torpedoing the Term B Loan and

Elite acquisition.40 The evidence demonstrates that:

     •   The 365+ AR Policy was implemented in December 2016 as part of remediation efforts

         with PwC incident to prior false financial reporting and weak internal controls. See supra

         Section II.D.

     •   All Defendants were aware of the 365+ AR Policy. It was the general practice at the

         Company before 2017 Q3. See supra Section II.D.3.

     •   The policy changed in 2017 Q3, to instead include 365+ AR in revenue estimates and assets

         reported on the Company’s balance sheet. All Defendants knew about the change. See

         supra Sections II.D.3.b and II.F.

     •   Moreno and Young came up with the idea to manipulate aging AR to make Nobilis’s

         financial results present better than they actually were. See supra Section II.F.

     •   Moreno, Young, and Efird were instrumental in contriving the phony $64.652 million

         revenue number and materially inflated trade accounts receivable value that were

         ultimately reported in Nobilis’s public filings. Those phony numbers were provided to

         Fleming and he blessed them. See supra Section II.F.

     •   No contemporaneous analysis was prepared to support the critical accounting change. See


40
       While not directly involved in the effort to cook the books, Defendant Ozonian breached
his oversight duties by failing to ensure compliance with the policy. See infra Section IV.C.
                                                  52
                 Case 21-51183-CTG      Doc 221       Filed 11/06/23   Page 59 of 90




         supra Section II.F.

     •   In violation of its charge, the RRC did not participate as a committee in the decision to

         change the 365+ AR Policy and the Defendants knew it. See supra Section II.E; see also

         infra Section IV.B (discussing breaches of fiduciary duty relating to the RRC).

     •   The accounting policy change caused material misstatements in Nobilis’s Form 10-Qs for

         2017 Q3, 2018 Q1, and 2018 Q2, and Nobilis’s Form 10-K for 2017. See supra Section

         II.G.

     •   Young and Fleming signed false certifications relating to those filings. See supra Section

         II.G.5.41

     •   The $11.6 million of improperly added 365+ AR in Q3 2017 inflated revenues to disguise

         a default under the Credit Agreement. See supra Section II.F.

     •   Representatives of BBVA testified that the Term B Loan (and thereby the Elite transaction)

         would not have closed if BBVA had known about the accounting policy change. See supra

         Section II.F.

     •   By January 2019, Nobilis had to write down $71.9 million in total accounts receivable, at

         least $49.6 million of which was 365+ AR. By that time, the Company had ceased making



41
        Young and Fleming each cite Behrmann v. Brandt, 2020 WL 4432536, at *15 (D. Del. July
31, 2020) for the proposition that “approving public filings or signing a Registration Statement is
not enough,” but they omitted the crucial second part of that Behrmann holding: “approving public
filings or signing a Registration Statement is not enough . . . absent specific allegations of the []
Defendants’ direct role in preparing such disclosures.” Id. (emphasis added) (finding that
allegations against directors were insufficient to plead demand futility under Delaware’s stringent
Rule 23.1 standard). Here, the Trustee has set forth specific facts from which a jury could conclude
that Young and Fleming (who signed the Certifications in their capacity as CFO and CEO,
respectively) played a direct role in preparing the false and misleading disclosures—Young was
one of the main architects of the plan to manipulate aging AR, and there are facts (including
Young’s testimony) showing that Fleming knew about and approved the plan. See supra Section
II.F; Opp. App. Ex. 1 (Young Dep. Tr. I at pp. 84-85).
                                                 53
             Case 21-51183-CTG            Doc 221        Filed 11/06/23     Page 60 of 90




        any public filings due to the unresolved 365+ AR issues. See supra Section II.I.

These facts demonstrate genuine issues of material fact concerning breaches of the duty of care

(by disregarding an established accounting policy without analysis and for the purpose of inflating

revenues and assets) as well as breaches of the duty of loyalty (by causing material misstatements

against the company’s interests and in bad faith). See, e.g., Palmer v. Reali, 21 F. Supp. 3d 655,

666-68 (D. Del. 2016) (facts showing officers created sham financial forecasts that lacked a

reasonable basis would, if proven, constitute a breach of the duty of care); Malone v. Brincat, 722

A.2d 5, 10 (Del. 1998) (“knowingly disseminating to the stockholders false information about the

financial condition of the company” is a breach of the duty of loyalty and good faith).42 The

Officer Defendants and Fleming have failed to establish any basis for summary judgment.

                1.     The “Extensive and Thorough” Analysis the Officer Defendants Rely
                On Is a Sham

        The Officer Defendants maintain that they only made the decision to include 365+ AR in

the financial statements after “an extensive and thorough data-driven analysis” and thus had “good

faith reasons” for doing so. Officer Defs. Br. [D.I. 214] at pp. 1, 29. These arguments are baseless

and, in any event, implicate numerous disputed issues of material fact.

        There was no “extensive” or “data-driven” analysis performed before the decision to

include 365+ AR was made for 2017 Q3.43 In fact, there was no contemporaneous analysis at all.



42
        The Officer Defendants incorrectly assert that, because the Trustee’s claims are not based
on self-interested transactions, only the duty of care is at issue. But it is well-established under
Delaware law that the duty of loyalty also encompasses a duty of good faith. See, e.g., Stone, 911
A.2d at 370. As such, a duty of loyalty claim exists, as it does here, when a fiduciary “failed to
pursue the best interests of the corporation and its stockholders and therefore failed to act in good
faith.” Orchard Enters., 88 A.3d at 33; see also Stone, 911 A.2d at 370 (“[B]ecause a showing of
bad faith conduct . . . is essential to establish director oversight liability, the fiduciary duty violated
by that conduct is the duty of loyalty.”).
43
        Despite having testified that Nobilis changed its general practice of writing down 365+ AR
in 2017 Q3, the Officer Defendants dispute in their Motion whether Nobilis ever followed such a
                                                    54
             Case 21-51183-CTG         Doc 221        Filed 11/06/23   Page 61 of 90




See supra Section II.F (setting forth evidence concerning February 2018 Memo, which was the

first documentary analysis prepared); see also, e.g., Opp. App. Ex. 81 (February 2018 Memo);

Opp. App. Ex. 78 (Moreno Dep. Tr. II at p. 96) (Moreno’s testimony that he could not identify any

contemporaneous documentation). The February 2018 Memo was prepared almost five months

after the close of 2017 Q3, and only after Crowe requested it. See id. at pp. 96-98. Notably, the

only support that the Officer Defendants cite for their assertions that they engaged in a thorough

investigation “during Q3 2017” are: (i) the belated February 2018 Memo; (ii) a memo dated

February 1, 2019 concerning revenue cycle issues; (iii) an email chain dated February 21, 2018

concerning collection procedures; and (iv) self-serving deposition testimony from Defendants

which is unsupported and refuted by relevant documentary evidence. See Officer Defs. Br. [D.I.

214] at pp. 7-10 and nn. 38-56.44

       Rather than support the existence of any “data-driven” investigation in 2017 Q3, these

documents demonstrate the opposite. In the February 21, 2018 email chain (which was clearly

sent as part of Moreno’s efforts to prepare the February 2018 Memo), for example, Moreno asked



practice. See Officer Defs. Br. [D.I. 214] at p. 21. Certainly, testimony from the Officer
Defendants themselves is sufficient to create a genuine issue of material fact concerning this issue.
See supra Section II.D.3.b.
44
         According to the Officer Defendants, their investigative efforts included “closely
analyzing” data for all 365+ AR claims, “gathering information” on each claim from the relevant
facilities, “interviewing employees and vendors responsible for collection”—but the only citation
for these assertions is two lines of testimony from Moreno saying he discovered “several factors”
after an undescribed investigation, with no reference whatsoever to the efforts alleged in the
Officer Defendants’ brief. See Officer Defs. Br. [D.I. 214] at p. 8 and n. 40 (citing Ex. A-1, Moreno
3/23/22 Dep. at 83:24-84:2). Furthermore, it is clear from Defendants’ emails at the time that the
decision to add 365+ AR in 2017 Q3 was made in a matter of days, once it was clear the Company
would have to report negative EBITDA for the quarter. See supra Section II.F (discussing
contemporaneous emails, and comparing original revenue estimate prepared September 28, 2017
(Opp. App. Ex. 31) to upsized revenue estimate prepared October 3, 2017 (Opp. App. Ex. 37)).
The suggestion that Defendants engaged in a thorough investigation of $11.6 million of 365+ AR
claims, including interviewing and gathering information from third parties, in that matter of time
is not credible.
                                                 55
            Case 21-51183-CTG          Doc 221       Filed 11/06/23    Page 62 of 90




Suman Smith (a member of the revenue cycle team) whether, for the Company’s major payers,

there was a “statute of limitations on how long I have to work/collect the account?” and explained

that he needed to know at what point “a payer can say the claim is no longer valid.” See Officer

Defs. Appendix [D.I. 215] at Ex. A-23, at NOB.EML_00073828_0002. Smith replied that as long

as the claim was timely filed, the claim does not expire. Id. at NOB.EML_00073828_0001.

Moreno then forwarded this explanation to Young, to inform him that claims do not expire. Id.

The fact that in February 2018 Moreno and Young apparently were not aware and needed to ask

how long claims can even possibly be collected beyond one year, or whether they “expire” and

end up barred by a “statute of limitations,” demonstrates that they had absolutely no legitimate

basis for adding in all of Nobilis’s 365+ AR amounts as a lump sum in the third quarter of 2017.

Apparently, for all they knew at the time, large portions of those claims might have been “expired.”

       Defendants are not entitled to summary judgment based on the business judgment rule.

First, the business judgment rule does not apply “where a loss results from director inaction,” as

is the case with Caremark violations. In re Bridgeport Holdings, Inc., 388 B.R. 548, 569 (Bankr.

D. Del. 2008) (citing In re Walt Disney Co. Derivative Litig., 907 A.2d 693, 748 (Del. Ch. 2005),

aff’d, 906 A.2d 27 (Del. 2006)). Because the Trustee has shown genuine disputes of material fact

concerning breaches of Defendants’ oversight duties, summary judgment on the basis of the

business judgment rule can be denied for that reason alone. See infra Sections IV.A.5, IV.B.

Second, evidence that a fiduciary breached any one of the triad of fiduciary duties—good faith,

loyalty, or due care—rebuts the business judgment rule. See McMullin v. Beran, 765 A.2d 910,

916 (Del. 2000). For example, the business judgment rule is negated when there is evidence of

gross negligence. See, e.g., Bridgeport, 388 B.R. at 572 (citing McMullin, 765 A.2d at 919-22).

Based on the evidence detailed by the Trustee, a jury could reasonably find that it is grossly



                                                56
             Case 21-51183-CTG           Doc 221       Filed 11/06/23    Page 63 of 90




negligent to juice up the Company’s numbers by adding in aged receivables, in violation of the

Company’s standard practice and SOX Narratives, and without investigating or having any idea if

those receivables are actually collectible. See In re Fedders N. Am., Inc., 405 B.R. 527, 539

(Bankr. D. Del. 2009) (gross negligence includes failure to inform oneself fully and in a deliberate

manner). Defendants’ post hoc justifications do not satisfy the business judgment rule as they are

contradicted by other evidence—including, most importantly, the contemporaneous evidence

reflecting what actually happened.

               2.     Summary Judgment Is Not Warranted Based On Crowe’s Audit and
               Interim Reviews

       The Officer Defendants and Fleming contend that Crowe’s sign off of the challenged

annual report and quarterly reports demonstrates that their decision to include 365+ AR in

Nobilis’s revenue estimates was reasonable and in good faith. The argument fails because (i)

Delaware’s reliance on experts defense potentially protects only directors, (ii) the preparation of

materially accurate and complete financial statements is management’s responsibility, and (iii)

there are disputed issues of fact concerning deficiencies in Crowe’s reviews and Defendants’

purported good faith reliance on them.

       While Defendants do not expressly invoke Delaware’s reliance on experts defense (Section

141(e) of the Delaware General Corporation Law), their argument essentially invokes the defense.

It fails as a matter of law because the defense is not available to officers:

               A member of the board of directors, or a member of any committee
               designated by the board of directors, shall, in the performance of
               such member’s duties, be fully protected in relying in good faith
               upon the records of the corporation and upon such information,
               opinions, reports or statements presented to the corporation by any
               of the corporation’s officers or employees, or committees of the
               board of directors, or by any other person as to matters the member
               reasonably believes are within such other person’s professional or
               expert competence and who has been selected with reasonable care

                                                  57
             Case 21-51183-CTG           Doc 221        Filed 11/06/23    Page 64 of 90




                by or on behalf of the corporation.

8 Del. C. § 141(e); see also Brehm v. Eisner, 746 A.2d 244, 262 (Del. 2000) (discussing

circumstances that would rebut the Section 141(e) defense).

        By its plain terms, the defense is available only to directors. See Cirillo Fam. Tr. v.

Moezinia, 2018 WL 3388398, at *18 (Del. Ch. July 11, 2018), aff'd, 220 A.3d 912 (Del. 2019)

(holding that defendants “would not be shielded from liability under Section 141(e) for actions

they took as officers because the plain terms of that statute only shield directors, and not officers”);

see also McDonald’s, 289 A.3d at 367 (discussing that officers owe duty of oversight for their area

of responsibility, but noting “[t]he ability of directors to rely on reports from an officer [per Section

141(e)]” is a distinction between directors and officers).

        Moreover, even if such a defense was potentially available, the Officer Defendants and

Fleming are not entitled to invoke it. They made the decision to disregard the 365+ AR Policy on

their own—before talking to Crowe about it or advising Crowe they had done it. That Crowe

belatedly reviewed or “approved” the financials after the fact does not absolve the Officer

Defendants or Fleming of including materially inflated revenues and assets in the financial

statements in the first place. See Valeant Pharms. Int'l v. Jerney, 921 A.2d 732, 751 (Del. Ch.

2007) (post-trial opinion holding that, where consultant’s report was predicated on “substantially

inflated values” provided by the fiduciary, “it would have been unreasonable for [the fiduciary] to

rely on that report as an expert opinion”).

        The responsibility for the preparation of materially accurate and complete financial

statements that comport with GAAP and related SEC requirements lies with management. See

Opp. App. Ex. 83 (Devor Report), at ¶¶ 60-61, 63 (discussing Auditing Standard (AU) 110

promulgated by the Public Company Accounting Oversight Board (PCAOB)); see also AU



                                                   58
             Case 21-51183-CTG           Doc 221         Filed 11/06/23   Page 65 of 90




110.03, available at https://pcaobus.org/oversight/standards/archived-standards/pre-reorganized-

auditing-standards-interpretations/details/AU110. During the yearly audit, “the auditor relies on

management representations” and its responsibility for the financial statements “is confined to the

expression of an opinion on those financial statements.” Opp. App. Ex. 83 (Devor Report), at ¶

64. Interim financial reviews (such as that performed in connection with quarterly reports) are

more limited in scope than audits and consist primarily of performing analytical procedures and

making inquiries of management. Id. at ¶ 65. “The purpose of an audit or review of a public

company’s financial statements is not . . . to provide comfort to the company’s management, who

were responsible for preparing those financial statements.” Opp. App. Ex. 86 (Devor Rebuttal

Report), at ¶ 4 (emphasis added). Auditors do not provide guarantees regarding the accuracy of

the client’s financial statements. Id. at ¶¶ 5-6.

       In fact,




                                 See Opp. App. Ex. 117, at pp. 1, 5 (letter concerning 2017 Q3

quarterly review, signed by Defendants Fleming, Young, and Rodriguez); Opp. App. Ex. 118, at

pp. 1, 5 (letter concerning 2018 Q1 quarterly review, signed by Defendants Fleming, Young, and

Rodriguez); Opp. App. Ex. 119, at pp. 1, 5 (letter concerning 2018 Q2 quarterly review, signed by

Defendants Fleming and Young, and the Corporate Controller); see also Opp. App. Ex. 120, at pp.

1. 9 (letter concerning 2017 audit signed by Defendants Fleming, Young, and Rodriguez,




                                                    59
             Case 21-51183-CTG        Doc 221       Filed 11/06/23     Page 66 of 90




       Finally, there are genuine disputes of material fact concerning whether management’s

reliance on Crowe was reasonable and in good faith.



                                                                            . See supra Section II.H;

Opp. App. Ex. 83 (Devor Report), at ¶ 135. Nobilis’s management had also previously questioned

Crowe’s competence—with Defendant Rodriguez noting that the Crowe team was “terrible” and

lacked the “expertise or intelligence” to deal with SOX compliance issues. See supra Section II.H;

Opp.    App.     Ex.   59,   at   NOB.EML_00455945_0001;             Opp.    App.     Ex.   58,    at

DEFENDANTS_00005865. Coupled with the fact that management was indisputably responsible

for the accuracy of the financial statements, these facts demonstrate disputed issues of material

fact concerning whether it was reasonable for any of the Defendants to rely on Crowe for

retroactive “approval” of their decision to include 365+ AR in the Company’s financial statements

in violation of the SOX Narratives and surreptitiously reverse a publicly disclosed critical

accounting policy without public disclosure, contemporaneous data analysis or support—to avoid

reporting a loss and bank covenant violation which would have torpedoed the Term B Loan and

Elite acquisition.

               3.     The So-Called “Layers of Review” Trumpeted By Fleming Were
               Illusory And Belie Summary Judgment

       Defendant Fleming maintains that he fulfilled his fiduciary duties by relying on numerous

“layers of review” for Nobilis’s financials. See Fleming Br. [D.I. 182] at pp. 17-18, 31. Fleming

lists “nine” of these purported layers: “the revenue cycle team, the Revenue Recognition

Committee, the finance department, in-house and outside counsel, management, Crowe, the Audit

Committee, the Board of Directors, and Fleming.” Id. at p. 31. But the evidence demonstrates

                                               60
             Case 21-51183-CTG          Doc 221        Filed 11/06/23    Page 67 of 90




that, except for perhaps the first layer (the revenue cycle team), these layers of review either failed

or were not involved in the revenue estimates and material misstatements at issue in this case. The

evidence is abundantly clear that the RRC abdicated its responsibilities—it did not even keep

minutes (or possibly even meet at all) after July 6, 2017, did not actually set policies on revenue

recognition (despite being charged to do so), and did not discuss treatment of 365+ AR. See supra

Section II.E; infra Section IV.B. As for the “finance department,” that department was led by

Moreno and Young, who hatched the plan to cook the books in the first place. The same is true

with respect to the “management” category, which includes all of the Officer Defendants—as well

as Fleming himself, as CEO. 45 With respect to “in-house and outside counsel,” there is no

evidence they had anything to do with revenue estimates or preparation of financial statements;

the fact that they may have reviewed public filings for legal compliance is irrelevant. As for the

Audit Committee and the Board—those entities too included Defendants in this case (Ozonian, for

both, and Fleming, for the Board) and there are genuine issues of material fact concerning whether

they breached their fiduciary duties in those capacities. See infra Section IV.C (discussing

Ozonian’s breaches). With respect to Crowe, the reasons why Fleming and the other Officer

Defendants cannot escape liability by saying they relied on Crowe are discussed at length above.

See supra Section IV.A.2.

       Finally, as Fleming admits with respect to his certifications for public filings, he simply

signed whatever was presented to him, in reliance on Crowe and the financial team. See Opp App.

Ex. 4 (Fleming Dep. Tr. I at p. 101). But here there is evidence Fleming knew that 365+ AR was



45
        It is unclear why Fleming places himself at the very top of his “layers of review,” even
over the Board of Directors, given that he was a member of management and of the Board of
Directors. Additionally, Fleming signed the false certifications in his capacity as CEO, not in his
capacity as a Board member, so his attempt to set himself apart from management with respect to
his certifications should be rejected. See supra Section II.G.5.
                                                  61
             Case 21-51183-CTG         Doc 221      Filed 11/06/23   Page 68 of 90




improperly included—he knew about the 365+ AR Policy, received revenue projections with 365+

AR added in violation of the policy, and, according to Young, “was informed” of the decision to

add it and “had no objections.” Opp. App. Ex. 1 (Young Dep. Tr. I at p. 85). Accordingly, there

are genuine issues of material fact concerning Fleming’s knowledge and good faith when he signed

those certifications—as well as when he made representations to BBVA concerning Nobilis’s

financial condition.46

               4.     The Breaches At Issue Fell Within The Scope of Efird and Rodriguez’s
               Fiduciary Duties

       With respect to Efird and Rodriguez, the Officer Defendants argue that they “did not have

authority over the primary breaches alleged by Plaintiff.” Officer Defs. Br. [D.I. 214] at p. 26.

The evidence demonstrates otherwise.

       Defendant Efird was Nobilis’s President during the relevant time period. See Efird Answer

to the Complaint [D.I. 84], at ¶ 16. He was aware of the SOX procedures, was regularly involved

in discussions of the financials, and was informed that Moreno intended to manipulate aging AR

to improve Nobilis’s financial results. See, e.g., Opp. App. Ex. 10; Opp. App. Ex. 25 (August

2017 Report being forwarded to Efird and others, with a request for feedback); Opp. App. Ex. 30

(same, with respect to September 2017 report); Opp. App. Ex. 31, at DEFENDANTS_00000899

(Young informing Efird on 9/28/17 that the Company would have to report negative EBITDA for

2017 Q3 but that he would continue to work with Moreno on it); Opp. App. Ex. 27 (Young




46
        Fleming claims that none of the BBVA representatives who were deposed testified that he
lied to them. See Fleming Br. [D.I. 182] at p. 42. That is not true. Cara Younger, BBVA’s
Director for Corporate and Syndicated Finance, testified that

                              Opp. App. Ex. 49 (Younger Dep. Tr. at pp. 31-36); see also Opp.
App. Ex. 51 (McCurdy Dep. Tr. at pp. 113-115, 447-450) (testimony of Jonathan McCurdy, BBVA
Senior Vice President, that Fleming gave them false information).
                                               62
            Case 21-51183-CTG          Doc 221        Filed 11/06/23   Page 69 of 90




forwarding to Efird the 9/28/17 email wherein Moreno hatched the plan to manipulate aging AR

to make Nobilis’s financial results look better). On October 3, 2017, Efird received the “Q4

Revenue Projections.xlsx” spreadsheet containing the upsized $65 million revenue estimate—

indeed, Efird was the one who then provided those projections to Fleming. Opp. App. Ex. 37; see

also Opp. App. Ex. 43 (Moreno sends “Q3 Revenue and AR summary” to Efird and others,

containing $64.8 million revenue number); supra Section II.F. 47 And, Young specifically

identified Efird as part of the management group that made the decision to change Nobilis’s prior

practice with respect to treatment of 365+ AR:

               Q. Who made the decision to change the prior practice with respect
               to the treatment of 365-day+ AR?

               A. It would have been a management decision.

               Q. Again, when you say it would have been, was it?

               A. It was a management decision, yes, absolutely.

               Q. Okay. And who are you referring to when you say
               management?

               A. It would have been -- or it was Ken Efird, Brandon [Moreno],
               Kenny Klein. Those are the people I recall right now.

               [. . .]

               Q. Were you involved?

               A. Yes.

Opp. App. Ex. 1 (Young Dep. Tr. I at p. 84) (emphasis added; objections omitted). This evidence

refutes the Officer Defendants’ contention that Efird’s duties as President were limited solely to




47
        Efird was also the chair of the RRC, which was specifically charged with setting Company
policies on revenue recognition (which would have included issues like internal controls relating
to aged receivables). See supra Section II.E.
                                                 63
              Case 21-51183-CTG        Doc 221       Filed 11/06/23    Page 70 of 90




operations.

       As for Defendant Rodriguez, he was Nobilis’s Chief Accounting Officer during the

relevant time period. See Rodriguez Answer to the Complaint [D.I. 78], at ¶ 24. The breaches at

issue implicate internal controls over financial reporting plainly within the scope of the CAO’s

duties. Indeed, the 365+ AR Policy at issue was developed and put in place under Rodriguez’s

direction. See supra Section II.D.1 and II.D.2; see also, e.g., Opp. App. Ex. 12. The Officer

Defendants’ argument that he should be off the hook because he did not actually calculate the

estimates (only reported them) should be rejected. Rodriguez clearly knew about the 365+ AR

Policy—and he also clearly knew that the other Defendants had decided to disregard the policy

and include 365+ AR in the revenue estimates anyway, because he participated in the efforts to

justify that change to Crowe. See, e.g., Opp. App. Ex. 19.48

       The facts accordingly demonstrate genuine issues of material fact concerning the

involvement of Efird and Rodriguez in the breaches alleged by the Trustee, and their Motion

should be denied.

               5.      The Evidence Demonstrates “Red Flags” and Caremark Violations

       Fiduciaries breach their fiduciary duties not only by engaging in direct conduct that violates

those duties, but also when they observe “red flags” concerning accounting chicanery and deficient

internal controls but knowingly disregard them. MTD Opinion [D.I. 75], at pp. 10-11. The same

policies embodied by the duty of oversight for directors “apply equally, if not to a greater degree,



48
        The Officer Defendants cite to Rodriguez’s deposition testimony as support for their
arguments that they had Crowe’s approval to disregard the policy. See, e.g., Officer Defs. Br. [D.I.
214] at p. 12 n. 70 (citing, inter alia, Ex. A-4, Rodriguez 4/13/22 Tr. at 117:19-22, which states
“We discussed this with our auditors, and we collectively, as a group, both management and the
auditors, decided what disclosures to include in our Qs and Ks.”). The Officer Defendants cannot
have it both ways—arguing that the alleged breaches had nothing to do with Rodriguez’s duties,
while also relying on events he was directly involved in to justify those breaches.
                                                64
            Case 21-51183-CTG          Doc 221       Filed 11/06/23    Page 71 of 90




to officers.” McDonald’s, 289 A.3d at 349. Indeed, “[a]s the day-to-day managers of the entity,

the officers are optimally positioned to identify red flags and either address them or report upward

to more senior officers or to the board.” Id. at 362. Here, even in the event the Court determines

that the Officer Defendants or Fleming did not engage in direct breaches of fiduciary duty, there

were ample red flags observed—but knowingly disregarded—by these Defendants, which

supports Caremark claims against them for permitting 365+ AR to be included in Nobilis’s

financial statements.

                        a.    Previously-restated 2014 financials, material weaknesses, and
                        PwC’s remediation efforts.

       The 365+ AR Policy originated from remediation efforts following the Company’s

restatement of its 2014 financials, which was necessary due to material weaknesses in internal

controls and GAAP violations. The Company hired PwC to develop detailed business process

narratives that would correct deficient internal controls and assist with SOX compliance. The

resulting SOX business process narratives—which included the 365+ AR Policy—were made

effective in December 2016. See supra Sections II.D.1 and II.D.2. Defendants were aware of the

policy, and the Company did in fact write down 365+ AR to $0 as its standard practice until 2017

Q3. See supra Section II.D.3. Knowing that the 365+ AR Policy was enacted to prevent material

weaknesses in financial reporting should have alerted Defendants to the risks of disregarding the

policy in 2017 Q3.49 And, in fact, disregarding the policy did result in material misstatements in




49
        The Officer Defendants and Fleming argue that the restatement of the 2014 financials
cannot be a red flag because those issues were mitigated (see, e.g., Fleming Br. [D.I. 182] at p.
31), but these arguments miss the point. The significance of the restatement and subsequent
remediation efforts is that it shows the importance of the 365+ AR Policy to the Company’s
internal controls—and being aware of that, Defendants should have known that disregarding the
policy without appropriate analysis (which as discussed herein, did not occur) would risk further
material weaknesses or restatements.
                                                65
             Case 21-51183-CTG          Doc 221       Filed 11/06/23    Page 72 of 90




multiple filings, and the Company’s eventual inability to make any further public filings at all,

delisting from the stock exchange, and bankruptcy. See supra Sections II.G and II.I; see also, e.g.,

Opp. App. Ex. 105, at LONGORIA0000549.4, LONGORIA0000555.2-555.3 (Longoria

memoranda).

       Defendants’ hollow attempt to downplay the significance of the SOX business process

narratives deserves short shrift. Defendants certainly considered the SOX business process

narratives important when they hired PwC to help develop them, approved them, made them

effective, and told Nobilis’s accounting and financial personnel to follow them. See supra Section

II.D.1; Opp. App. Ex. 12. With respect to the 365+ AR Policy specifically, the Company followed

it as standard practice right up until poor financial results in 2017 Q3 threatened to derail the Term

B Loan and Elite transaction. See, e.g., Opp. App. Ex. 45, at Nobilis_00407947; Opp. App. Ex. 1

(Young Dep. Tr. I at pp. 75-78, 84-85). Defendants’ attempts to now paint the SOX narratives as

unimportant and something that could be ignored are not credible—and are undermined by the

evidence presented by the Trustee. See Weaver v. Mobile Diagnostech, Inc., 2007 WL 1830712,

at *1 (W.D. Pa. June 25, 2007) (credibility determinations concerning defendants’ justifications

for their actions and their knowledge/intent were material questions of fact that could not be

resolved on summary judgment).

                       b.      Substantial increases in DSO and 365+ AR, and substantial
                       billing and collection backlogs.

       Additional red flags included substantial increases in DSO (Days Sales Outstanding, a

metric for monitoring the pace at which accounts receivable were collected), 50 rapid and




50
       See Opp. App. Ex. 121 (10/6/2017 email chain between Moreno and Efird, copying Young
and others, referencing increase of DSO from 110 in 2016 Q3 to 156 in 2017 Q3; Opp. App. Ex.
122 (Young Dep. Tr. II at pp. 95-99, 103) (Young’s testimony that the increase in DSO was a
                                                 66
             Case 21-51183-CTG           Doc 221       Filed 11/06/23     Page 73 of 90




precipitous growth in 365+ AR,51 and substantial billing and collection backlogs that resulted in

decreased collections. See Opp. App. Ex. 18, at pp. 1-2 (Lockhart memo discussing



                                                                    52
                                                                         ; Opp. App. Ex. 70, at

DEFENDANTS_00003017-18. 53 Substantial billing and collection issues that were causing

decreased collections (and, in turn, alarming increases in relevant metrics) should have alerted

Defendants that, by including 365+ AR, they were adding receivables which may not actually be

collectible and thereby artificially inflating Nobilis’s revenue and assets in the financial statements.

        Fleming and the Officer Defendants argue that none of these collection metrics or issues

can be red flags because Nobilis publicly disclosed that it was subject to risks related to out-of-

network payors. See Fleming Br. [D.I 182] at p. 32 (citing 2015 Form 10-K, Fleming Ex. A-5);

Officer Defs. Br. [D.I. 214] at p. 22 (citing same). But these vague risk disclosures do not disclose

the issues above (nor could they, given they pertain to 2015)—and the Defendants cannot point to

any relevant disclosures advising shareholders that millions of dollars’ worth of previously

written-off receivables were being included in Nobilis’s estimates during 2017 and 2018. The case

they cite, Butorin v. Blount, 2018 WL 4700217 (D. Del. Sept. 30, 2018), is distinguishable. In




“negative trend” and a “concern,” and that as CFO he was aware of that negative trend in real
time).
51
        See supra Section II.I.
52
        While Lockhart’s memo states that the Company expected improvements in these issues
to “c[o]me to fruition in Q4 2017,” they did not—as 365+ AR continued to grow unabated through
Q4 and beyond. See, e.g., Opp. App. Ex. 79 (2018 Q2 Form 10-Q), at p. 14 (showing 365+ AR
increased from $20.4 million at the end of 2017 to $38.8 million by June 30, 2018).
53
        See also Opp. App. Ex. 72 (Pankaj Dep. Tr. at pp. 65-66) (testimony from Nobilis’s Vice
President of Revenue Cycle Management concerning turnover issues in Nobilis’s Central Business
Office); Opp. App. Ex. 71 (discussing issues with the staffing company and outside vendors used
to perform the billing and collection functions); Opp. App. Ex. 73 (June 2017 report from Senior
Director of Revenue Cycle discussing Company procedures).
                                                  67
            Case 21-51183-CTG          Doc 221       Filed 11/06/23    Page 74 of 90




Butorin, the court found the plaintiff failed to plead red flags relating to “failures with cost

estimates” because the company’s public filings disclosed the process they used and the failures

alleged were within the realm of the disclosed risks. Id. at *6. The plaintiff had not alleged that

the company had changed or used a different process—simply that the disclosed process did not

work. Id. But here, the Trustee’s claims are not based simply on a disagreement with whether the

estimates were accurate. Rather, the Trustee alleges—and the evidence supports—that Defendants

artificially inflated the estimates by changing the way they treated 365+ AR, without any basis to

do so and without disclosing the change. Considering the facts presented by the Trustee,

knowledge of collectability issues would plainly be a red flag in making decisions about whether

or not to include aged receivables in revenue estimates and assets. Further disputes over whether

Defendants reasonably believed collections were improving or that certain issues had been handled

cannot be resolved at summary judgment.

       B.      There Are Genuine Issues of Material Fact Concerning Whether
               Defendants Fleming, Efird, Moreno, and Young Breached Their
               Fiduciary Duties In Relation To The RRC

               1.      Fleming Violated His Caremark Duties By Failing to Monitor or
                       Oversee the RRC

       A fiduciary violates his Caremark duty to adequately oversee or supervise corporate

operations when “having implemented such a system or controls, consciously fail[s] to monitor or

oversee its operations, thus disabling [himself] from being informed of risks or problems requiring

managerial attention.” MTD Opinion [D.I. 75], at p. 10; see also Marchand v. Barnhill, 212 A.3d

805, 821 (Del. 2019) (“[T]o satisfy their duty of loyalty, directors must make a good faith effort

to implement an oversight system and then monitor it.”) (emphasis added). Fleming owed

Caremark duties in his capacity as a director and in his capacity as CEO. See McDonald’s, 289

A.3d at 350 (“[T]he duty of oversight applies equally to officers . . . Some officers, like the CEO,

                                                68
            Case 21-51183-CTG         Doc 221       Filed 11/06/23   Page 75 of 90




have a company-wide remit.”).

       Despite creating the RRC, Fleming did nothing to ensure that it performed its critical

financial function. Fleming was aware of red flags concerning how the Company made decisions

concerning revenue recognition—indeed, he was “seriously concerned” about the issue. See Opp.

App. Ex. 20 (“For some time now I’ve been considering how we manage this extremely important

function for the company. I have been seriously concerned that we have been putting this function

on one person’s shoulders.”). The express purpose of the committee was to “set the company’s

future policies on revenue recognition.” Id. (emphasis added).

       Yet, Fleming testified that he had no idea whether the RRC in fact set policies on revenue

recognition, never saw a document or any other information suggesting they did, and never

discussed the issue with Efird, the RRC Chair. See, e.g., Opp App. Ex. 4 (Fleming Dep. Tr. I at

pp. 133-34); Opp. App. Ex. 75 (Fleming Dep. Tr. II at pp. 123-24). Fleming maintains that at

some point he discussed revenue targets generally with Efird, but that was not the RRC’s task or

the issue that Fleming purportedly created it to handle. Fleming admits that he did “nothing

specific” to ensure the RRC carried out its actual function. Id. The members of the RRC confirmed

that they did not set policies on revenue recognition—indeed, Efird was “not sure” who at the

Company did. See supra Section II.E; Opp. App. Ex. 22 (Efird Dep. Tr. I at p. 24).

       Accordingly, there are facts demonstrating that, despite Fleming’s observation of

“seriously concern[ing]” red flags that led him to create the RRC,54 he then consciously failed to

monitor or oversee the performance of the RRC’s function. This caused Fleming to be uninformed

about the Company’s revenue recognition policies—even though those were the most

consequential estimates for the Company’s financial statements. See Opp App. Ex. 4 (Fleming



54
       Opp. App. Ex. 20.
                                               69
             Case 21-51183-CTG          Doc 221       Filed 11/06/23    Page 76 of 90




Dep. Tr. I at pp. 124, 134); Opp. App. Ex. 75 (Fleming Dep. Tr. II at p. 26) (“Q. And can we agree

that estimates most consequential to the company’s financial statements were in the area of revenue

recognition? A. That’s correct.). “Facts demonstrating that a director or officer observed certain

‘red flags’ but knowingly disregarded them such that they completely disabled themselves from

being informed of risks or problems are generally deemed sufficient for the purposes of a

Caremark claim.” MTD Opinion [D.I. 75], at pp. 10-11.

               2.      Efird, Moreno, and Young Abdicated Their Responsibilities as
                       Members of the RRC

       Defendant Efird was the Chair of the RRC and Defendants Moreno and Young were

members. Yet, it is undisputed that these Defendants abdicated their charge to set the Company’s

policies on revenue recognition as part of the committee. Efird confirmed that the RRC did not

set (or even discuss) the Company’s policies on revenue recognition and testified that he did not

know who did. See Opp. App. Ex. 22 (Efird Dep. Tr. I at pp. 24-25). Moreno and Young likewise

testified that they had no memory of the RRC discussing the treatment of 365 + AR. See Opp.

App. Ex. 14 (Moreno Dep. Tr. I at p. 85); Opp. App. Ex. 1 (Young Dep. Tr. I at pp. 89, 93). The

evidence further demonstrates that the RRC failed to even keep minutes after July 6, 2017—

indeed, it is unclear whether they met at all after that point. See supra Section II.E.

       Efird, Moreno, and Young argue that the RRC was merely a “forum” for collaboration and

discussion and had no real importance for Nobilis’s revenue recognition processes or controls.55

But Fleming’s email forming the committee establishes otherwise: “This new committee will set

the company’s future policies on revenue recognition and will make all decisions as a group.”

Opp. App. Ex. 20 (emphasis added). To the extent Defendants argue that the RRC’s charge was




55
       See Officer Defs. Br. [D.I. 214] at pp. 36-37.
                                                 70
             Case 21-51183-CTG          Doc 221        Filed 11/06/23    Page 77 of 90




something different or that they were justified in ignoring that charge, that demonstrates the

existence of disputed issues of fact that must be resolved by the factfinder, not a basis for summary

judgment.

       Defendants Efird, Moreno, and Young further argue that it does not matter whether the

RRC fulfilled its purpose, but the case they cite for this proposition is inapposite. See Officer Defs.

Br. [D.I. 214] at p. 37 (citing In re Citigroup Inc. S’holder Derivative Litig., 964 A.2d 106, 135

(Del. Ch. 2009)). Citigroup found that claims against members of an “ARM Committee,” which

was charged with reviewing and ensuring accuracy of financial statements, were insufficiently

pled under Delaware’s strict pleading standard for shareholder derivative actions because the

complaint contained no allegations concerning committee members’ knowledge or bad faith (and

instead relied only on conclusory allegations about the committee’s purpose and their membership

on it). Citigroup, 964 A.2d at 134-35. That is not comparable to the evidence relating to the RRC

which exists in this case—wherein Efird, Moreno, and Young (as well as Fleming) all readily

admit that the RRC did not fulfill the charge to set revenue recognition policies.

       Furthermore, the court in Citigroup did not say that internal documents concerning a

company’s oversight procedures are irrelevant; it merely said that legal liability is not measured

by them. Id. at 135. Here, the Trustee is not presenting Fleming’s email forming the RRC as the

relevant measure of liability—he is presenting it as evidence that Efird, Young, and Moreno (all

of whom were officers of Nobilis) were specifically tasked by the CEO with setting the company’s

future policies on revenue recognition as part of the RRC, but failed to do so.56 That failure




56
        Fleming explicitly relies on the RRC as a purported “layer of review” that, in his view,
insulates him from liability in this case. See, e.g., Fleming Br. [D.I. 182] at pp. 17-18. This is at
odds with the Officer Defendants’ position that the RRC was unimportant and had no real
significance for the Company’s revenue recognition policies.
                                                  71
             Case 21-51183-CTG          Doc 221        Filed 11/06/23    Page 78 of 90




constituted reckless indifference and deliberate disregard of an issue that was undisputedly critical

to the Company’s success (amounting to a breach of the duty of care), as well a lack of good faith

for purposes of the duty of loyalty. These breaches were not inconsequential—the improper

reversal of the 365+ AR Policy, the material misstatements resulting therefrom, and the subsequent

write-down of 365+ AR were all matters within the purview of the RRC, had its members taken

their role seriously.

        C.      There Are Genuine Issues of Material Fact Concerning Whether
                Defendant Ozonian Violated His Caremark Duties By Failing to
                Monitor the Company’s Compliance With The 365+ AR Policy

        “When directors fail to act in the face of a known duty to do so, they breach their duty of

loyalty by failing to discharge that fiduciary obligation in good faith.” MTD Opinion [D.I. 75], at

p. 9; see also Hughes v. Xiaoming Hu, No. CV 2019-0112-JTL, 2020 WL 1987029, at *14 (Del.

Ch. Apr. 27, 2020) (an audit committee which has “clear notice of irregularities” but “consciously

turn[s] a blind eye to their continuation” fails to satisfy its fiduciary duties). Here, there are

genuine disputes of material fact concerning whether Ozonian, in his capacity as a Board member

and Chair of the Audit Committee, satisfied his fiduciary duty to ensure Nobilis’s compliance with

the 365+ AR Policy, as required by the Company’s SOX business process narratives.

        “[C]ompliance with . . . securities-related laws, rules or regulations” was “the responsibility

of the Audit Committee,” as was oversight of the “quality and integrity of [Nobilis’s] financial

statements,” “internal controls over financial reporting,” and “finance, accounting, and legal

compliance.” Opp. App. Ex. 87 (Schedule 14A filed 4/30/18), at pp. 31-33. Ozonian was well

aware of the fact that Nobilis had to restate its 2014 financials due to material weaknesses in




                                                  72
             Case 21-51183-CTG        Doc 221       Filed 11/06/23   Page 79 of 90




internal controls and GAAP violations,57 and testified that the Audit Committee “sanctioned and

helped put in place” the PwC remediation efforts which followed. See Opp. App. Ex. 52 (Ozonian

Dep. Tr. at p. 31). The SOX business process narratives developed as a result of PwC’s efforts—

which included the 365+AR Policy—were approved by Defendant Ozonian, as chair of the Audit

Committee.     See Opp. App. Ex. 10, at Nobilis_00257686; Opp. App. Ex. 11, at

NOB.EML_00464698.

       However, the evidence shows no further efforts by Ozonian or the Audit Committee to

ensure that 365+ AR amounts were actually being written to down to $0 as required by the SOX

business process narratives. Nor does the evidence show any involvement by Ozonian or the Audit

Committee in the decision in 2017 Q3 to disregard the 365+ AR Policy and include 365+ AR in

the financials anyway.

       Thus, despite having approved the 365+ AR Policy as part of the SOX business process

narratives—which Ozonian knew were critical to avoiding further restatements of the Company’s

financials—Ozonian failed to “make a good faith effort to . . . then monitor it.” Marchand, 212

A.3d at 821. Indeed, as chair of the Audit Committee, he signed off on financials which contained

misstatements as a result of the inclusion of 365+ AR. See Opp. App. Ex. 87 (Schedule 14A filed

4/30/18), at pp. 33-35 (“Based on its review, the Audit Committee recommended to the Board that

the audited financial statements for the Company’s year ended December 31, 2017 be included in

our Annual Report on Form 10-K for the year ended December 31, 2017...which was filed on

March 12, 2018.”) (submitted by all committee members, including Ozonian as Chairman); see

also Opp. App. Ex. 83 (Devor Report), at ¶¶ 114-15 (discussing misstatements contained in 2017



57
       See Opp. App. Ex. 7, at p. 3/78, 77/78 (Form 10-K/A, Amendment No. 1, For the fiscal
year ended December 31, 2014, filed January 12, 2016, signed by, inter alia, Ozonian as then-
Chairman of the Board and Director);
                                               73
             Case 21-51183-CTG         Doc 221      Filed 11/06/23   Page 80 of 90




Form 10-K). Had Ozonian made efforts to monitor compliance with the SOX business process

narratives that the Audit Committee “sanctioned and helped put in place,”58 the misstatements

contained in Nobilis’s 2017 Form 10-K and other public filings could have been avoided.

       Ozonian was aware by, at the latest, March 2018 that the 365+ AR Policy was not being

followed. The March 7, 2018 Audit Committee Meeting Minutes



                                                      Opp. App. Ex. 95.59




                            See Opp. App. Ex. 92. Ozonian obviously knew about the 365+ AR

Policy—he had approved it.        Ozonian also knew that there had previously been material

weaknesses in internal controls and GAAP violations, and that the SOX business process

narratives were adopted to correct those weaknesses. But the meeting minutes do not reflect an

effort by Ozonian to ensure the ever-increasing 365+ AR amounts were written down to $0 as

required by those narratives.60

       Defendant Ozonian points to discussions concerning 365+ AR generally, including calls

and emails which occurred after it was already clear a massive write down of wrongfully included

365+ AR would be necessary, and argues that these demonstrate that Ozonian fulfilled his duties.



58
        Opp. App. Ex. 52 (Ozonian Dep. Tr. at p. 31).
59
        In addition to Ozonian, Defendants Fleming, Young, Rodriguez, and Moreno attended this
meeting. See Opp. App. Ex. 95.
60
        During this period, the Company continued to issue public filings containing misstatements
as to 365+ AR. See, e.g., See Opp. App. Ex. 88 (2018 Q1 Form 10-Q); Opp. App. Ex. 79 (2018
Q2 Form 10-Q); Opp. App. Ex. 83 (Devor Report), at ¶¶ 116-17, 127-31 (discussing misstatements
in same).
                                               74
            Case 21-51183-CTG          Doc 221      Filed 11/06/23   Page 81 of 90




However, none of those discussions concern compliance with the SOX procedures. The fact that

Ozonian was well aware of serious issues faced by the Company concerning 365+ AR only

heightened—not lessened—his duty to ensure that the Company’s internal controls relating to that

issue were followed. His knowledge of growing 365+ AR was a red flag that should have alerted

him that it was more important than ever to follow the internal controls concerning the reporting

of those receivables.

       Plaintiff’s claim against Ozonian is not based solely on the fact that he was on the Audit

Committee or on an assertion that he had the same responsibilities as management—rather it is

based on evidence that he had “clear notice” of an irregularity (i.e., that the 365+ AR Policy was

not being followed, to the detriment of the Company), but “consciously turned a blind eye” to its

continuation in violation of his oversight duties under Caremark. See Hughes, 2020 WL 1987029,

at *14. By November 2018, there were $71.9 million in total accounts receivable that needed to

be written off—at least $49.6 million of which would have never been included in the financial

statements in the first place had the 365+ AR Policy been followed. See Opp. App. Ex. 99, at

NOB.EML_00094324_0038; Opp. App. Ex. 100.

       Ozonian attempts to handwave away the 365+ AR Policy based on the fact that it was “on

the 94th of 105 pages” of the SOX documentation. Ozonian Br. [D.I. 212] at p. 25. This argument

should be rejected out of hand. The importance of the 365+ AR Policy is not lessened simply

because it is contained within a larger document or was among a set of multiple business process

narratives. Nobilis’s management and Audit Committee clearly saw fit to hire PwC to develop the

SOX Revenue Recognition Narrative and to include the 365+ AR Policy in the initial and revised

versions of it. See Opp. App. Ex. 12, at NOB.EML_00131548_0007; Opp. App. Ex. 13, at

Nobilis_0222818.        Furthermore, when Defendant Rodriguez circulated the approved SOX



                                               75
             Case 21-51183-CTG          Doc 221        Filed 11/06/23    Page 82 of 90




business process narratives to Nobilis’s accounting and financial reporting staff, he advised them

that the “rollout of all business narratives and related controls is effective immediately,” that

“[m]anagement requests that all business leaders and employees follow the processes as

documented and follow the control activities specified in each respective business process,” and

that the process narratives should be provided to all of the recipients’ direct reports. Opp. App.

Ex. 12, at NOB.EML_00131530_0001-02.               This evidence directly contradicts Ozonian’s

suggestion that the SOX business process narratives were simply “goals” that could be ignored if

convenient.61 It also demonstrates genuine issues of material fact concerning the significance of

the SOX business process narratives and the scope of Ozonian’s duty to act upon learning they

were not being followed.

       Ozonian cannot assert as a defense that he relied on Crowe or on the Company’s

management. See 8 Del. C. § 141(e) (defense permitting directors to rely in good faith on

management or advisors). Directors will not be protected by this defense if “their reliance was not

in good faith” or “the subject matter ... that was material and reasonably available was so obvious

that the board’s failure to consider it was grossly negligent regardless of the expert’s advice or lack

of advice.” Brehm, 746 A.2d at 262. Here, the existence and significance of the 365+ AR Policy

in relation to the Company’s financial statements was material and known to Ozonian—yet he did

not question Crowe or management about it upon learning that it was not being followed.62



61
        See, e.g., Ozonian Br. [D.I. 212] at p. 7 (Ozonian’s brief characterizing the SOX business
process narratives as merely “goals”).
62
        Ozonian testified that there were extended periods of time during late 2018 and 2019 when
he was unable to be “present” for many matters relating to his Board duties due to health issues.
See Opp. App. Ex. 52 (Ozonian Dep. Tr. at p. 17) (“[I]n ’18 . . . into ’19 . . . I was not able to be
fully present for things.”); Id. at p. 52 (in reference to the third/fourth quarters of 2018, “That was
a period where I was not present for many things.”). While understandable, Ozonian’s inability to
fully attend to his Board duties for extended periods of time—during which the Company was
experiencing serious financial problems and on a path to bankruptcy—demonstrates that he no
                                                  76
            Case 21-51183-CTG          Doc 221       Filed 11/06/23    Page 83 of 90




       D.      Plaintiff Has Presented Substantial Evidence of Causation and
               Damages, About Which There Are Disputed Issues of Material Fact

               1.     Plaintiff Can Prove Causation and Damages

       The Delaware Chancery Court recently explained a plaintiff’s burden concerning damages

and causation for a breach of fiduciary duty claim under Delaware law:

               To obtain a meaningful remedy for a breach of duty, a plaintiff must
               establish by a preponderance of the evidence either that the plaintiff
               suffered harm or that the fiduciary wrongfully received a benefit. A
               plaintiff also must prove by a preponderance of the evidence that a
               sufficient causal linkage exists between the breach of duty and the
               remedy sought to make the remedy an apt means of addressing the
               breach.

               Although the plaintiff must make both showings by a preponderance
               of the evidence, plaintiff-friendly principles come into play.
               Through these principles, the proven breach of duty operates as a
               solvent to loosen the normally stringent requirements of causation
               and damages.

               One plaintiff-friendly principle is the maxim that once a breach of
               duty is established, uncertainties in awarding damages are generally
               resolved against the wrongdoer. Another is the proposition that the
               scope of recovery for a breach of the duty of loyalty is not to be
               determined narrowly. It remains true that damages must be logically
               and reasonably related to the harm or injury for which compensation
               is being awarded. But as long as that connection exists, the law does
               not require certainty in the award of damages where a wrong has
               been proven and injury established. Responsible estimates that lack
               mathematical certainty are permissible so long as the court has a
               basis to make a responsible estimate of damages.

Metro Storage Int’l LLC v. Harron, 275 A.3d 810, 859 (Del. Ch. 2022) (citations omitted); see

also, e.g., Thorpe by Castleman v. CERBCO, Inc., 676 A.2d 436, 445 (Del. 1996).

       The evidence offered by the Trustee, including the expert opinions of Harris Devor and




longer had the capacity to meet his fiduciary obligations and should have resigned from the Board.
It does not exonerate him.
                                                77
            Case 21-51183-CTG            Doc 221      Filed 11/06/23   Page 84 of 90




supporting documentation, 63 is more than sufficient to create genuine issues of material fact

concerning damages and causation—the requirements for which are “loosened” in light of the

substantial evidence concerning Defendants’ breaches. The Trustee has set forth damages that are

“logically and reasonably related” to the harms caused by cooking Nobilis’s books and provided

a    “responsible    estimate[]”    of     the     amount    of    those   damages.        Metro

Storage, 275 A.3d at 859. As Devor explains, “a reasonable method for determining damages to

the Company is to estimate the enterprise’s value prior to any purported financial misstatement by

management and compare that value to Nobilis’ financial condition and liquidation value, as

measured by the liquidation proceeds and value of unliquidated assets.” Opp. App. Ex. 83 (Devor

Report), at ¶ 145. Damages based on lost enterprise value are a permissible form of damages for

breach of fiduciary duty. See, e.g., In re PMTS Liquidating Corp., 526 B.R. 536, 547 (D. Del.

2014) (holding that “an unbroken chain of events, starting with [defendant’s] breach and leading

to [debtor’s] loss of enterprise value” would, if proven, “demonstrat[e] damages proximately

caused by [defendant’s] breach of fiduciary duty”).64

       To the extent that Defendants dispute what actually caused Nobilis’s demise, the amount

or manner of calculation of appropriate damages, or how damages should be apportioned, those

are matters for trial. Moreover, “an action for breach of fiduciary duty is a prophylactic rule

intended to remove all incentive to breach—not simply to compensate for damages in the event of

a breach.” Milbank, Tweed, Hadley & McCloy v. Boon, 13 F.3d 537, 543 (2d Cir. 1994) (cited



63
        See supra Section II.J.
64
        See also In re Scott Acquisition Corp., 344 B.R. 283, 290 (Bankr. D. Del. 2006) (holding
trustee had standing to recover for injuries in form of debtor’s “substantially diminished”
enterprise value, as result of breaches of fiduciary duty); In re Refco Inc. Sec. Litig., 2014 WL
2514719, at *3 (S.D.N.Y. May 2, 2014) (special master’s recommendation that damages based on
lost enterprise value be awarded), report and recommendation adopted 2014 WL 2465261
(S.D.N.Y. June 2, 2014).
                                                 78
             Case 21-51183-CTG          Doc 221       Filed 11/06/23    Page 85 of 90




favorably by Delaware Supreme Court in Thorpe, 676 A.2d at 444-45).                Thus the factual

determinations necessary to award damages in this case, under Delaware’s liberal standards for

damages flowing from breaches of fiduciary duty, cannot be made on summary judgment.

               2.      Fleming’s Trivial Criticisms of Devor’s Opinions Are Meritless

       Fleming offers trivial criticisms of Devor’s opinions, none of which have merit or provide

any basis for summary judgment. First, Fleming criticizes Devor for “estimat[ing] damages . . .

assuming liability.” Fleming Supp. Br. [D.I. 202] at p. 2 (quoting Devor Testimony, Ex. B-1 at

22:5-20, 23:4-21). But “[a]ll damages expert opinions are dependent . . . on the assumption that

liability has been proven.” Dorman Prod., Inc. v. Paccar, Inc., 201 F. Supp. 3d 663, 690 (E.D.

Pa. 2016); see also U.S. Accu-Measurements, LLC v. Ruby Tuesday, Inc., 2013 WL 1792463, at

*8 (D.N.J. Apr. 26, 2013) (“Expert opinions on damages commonly assume liability, which must

be established independently.”).

       Next, Fleming argues that Devor fails to show causation because his initial Report does not

use the literal words “cause” or “causation.” Fleming Supp. Br. [D.I. 202] at p. 4. This argument

is frivolous, as Devor’s initial Report and his Rebuttal Report both make clear his opinion that

Defendants’ conduct caused the economic damages sustained by Nobilis. See Opp. App. Ex. 83

(Devor Report), at ¶¶ 141-43, 145, 148; Opp. App. Ex. 86 (Devor Rebuttal Report), at ¶¶ 20, 26-

32 (discussing direct and indirect consequences associated with the material misstatements and

subsequent write-off). These opinions are not, as Fleming argues, based on facts from other cases

or only the “ipse dixit” of the expert. Devor’s experience with the devastating effects of accounting

misstatements and manipulation are directly relevant to his qualifications to opine as an expert on

that topic, but that does not mean that he considered Nobilis identical to other collapsed entities or

based his damages conclusions on facts relating to those entities; rather, his Reports identify the



                                                 79
             Case 21-51183-CTG          Doc 221       Filed 11/06/23    Page 86 of 90




specific facts from this case that his conclusions as to Nobilis’s damages are based on. See Opp.

App. Ex. 83 (Devor Report), at ¶ 143; Opp. App. Ex. 86 (Devor Rebuttal Report), at ¶¶ 26-31

(citing relevant facts and documents). Expert testimony is “not ipse dixit testimony” when it is

“based on [the expert’s] experience and adequate facts.” Del. Display Group LLC v. VIZIO, Inc.,

2017 WL 784988, at *6 (D. Del. Mar. 1, 2017); see also Allscripts Healthcare, LLC v. Andor

Health, LLC, 2022 WL 3021560, at *25 (D. Del. July 29, 2022) (expert’s opinions were “not ipse

dixit” where they were “grounded in his industry experience”).

       Finally, Fleming argues that Devor should have opined as to Fleming’s state of mind and

knowledge of red flags. Fleming Supp. Br. [D.I. 202] at pp. 10-11. But those are not matters

within the proper scope of expert testimony. See, e.g., Wolfe v. McNeil-PPC, Inc., 881 F. Supp.

2d 650, 661-62 (E.D. Pa. 2012) (holding that expert could not testify concerning defendant’s state

of mind or render legal opinions); Robinson v. Hartzell Propeller Inc., 326 F. Supp. 2d 631, 648

(E.D. Pa. 2004) (“[I]ntent is not a proper subject for expert testimony.”). Devor’s testimony that

these matters were not within the scope of his expert opinion does nothing to “foreclose[]” the

Trustee’s claims, as Fleming contends,65 and instead was entirely appropriate. Devor’s opinions

concerning red flags properly focus on Crowe’s audit and reviews because whether or not an

auditor’s work complies with professional standards is a proper focus of expert testimony. See

Zimmer Surgical, Inc. v. Stryker Corp., 365 F. Sup. 3d 466, 497-98 (D. Del. 2019) (expert could

testify about the competency of professional’s work and about what a reasonable professional

would do, but he could not offer explicit credibility determinations as to intent, motive, or state of

mind). Further determinations concerning Defendants’ knowledge, state of mind, or culpability

are questions for the factfinder based on the evidence, not questions about which the Trustee’s



65
       Fleming Supp. Br. [D.I. 202] at p. 11.
                                                 80
            Case 21-51183-CTG          Doc 221       Filed 11/06/23   Page 87 of 90




expert should opine. See Wolfe, 881 F. Supp. 2d at 662.

               3.     Defendants’ Arguments Concerning Supposed Alternative Causes for
                      Nobilis’s Demise Are Not a Basis For Summary Judgment

       Defendants point to various “alternative causes” that they contend led to Nobilis’s collapse

and argue that (i) Devor’s damage model is flawed for not accounting for these alternative causes,

and (ii) Plaintiff therefore cannot prove damages. Officer Defs. Br. [D.I. 214] at p. 40; Fleming

Supp. Br. [D.I. 202] at p. 7. Defendants are not entitled to summary judgment on the basis of these

disputed facts. There is ample evidence in the record demonstrating genuine issues of material

fact concerning the purported “alternative” causes raised by Defendants.

       With respect to Hurricane Harvey, the Company’s own records demonstrate that, despite

causing a temporary shutdown, Hurricane Harvey did not have a lasting impact on Nobilis’s

operations and was not the cause of Nobilis’s collapse. See supra Section II.J.3.




             ” Opp. App. Ex. 114, at CROWE0017688.

                                                                                            Id. at

CROWE0017685. And the financial woes which caused Defendants to reverse the 365+ AR

Policy in the first place were occurring “before any hurricane hit.” Opp. App. Ex. 27, at

DEFENDANTS_00000907 (email from Moreno to Young).

       Defendants also blame insurers for Nobilis’s demise, asserting that insurers “unexpectedly

and substantially changed” how out-of-network claims were paid. Fleming Br. [D.I. 182] at p. 46

(citing testimony from Consoli); see also Officer Defs. Br. [D.I. 214] at p. 40. However, changes

in how insurers paid out-of-network claims had long been one of the “complexities” of Nobilis’s

business. See Opp. App. Ex. 123 (Form 10-K 2015), at p. 11/75. Nobilis’s Form 10-K for 2015—

                                                81
             Case 21-51183-CTG          Doc 221        Filed 11/06/23    Page 88 of 90




a time when Nobilis’s percentage of out-of-network claims was much higher—stated that:

               At December 31, 2015, approximately 87.2% of our cases were on
               an ‘out of network’ basis, without any reimbursement rate protection
               or consistent in-network patient enrollments typically seen from an
               in-network agreement. Accordingly, we are susceptible to changes
               in reimbursement policies and procedures by third-party insurers
               and patients’ preference of using their out of network benefits which
               could have an adverse effect on our business, results of operations
               and financial condition.

Id. Furthermore,



                                                                                        .” Opp. App.

Ex. 115, at pp. 3-4; see also Opp. App. Ex. 116, at pp. 8-9, 12 (May 2019 confidential information

memorandum,                                                              ).

       Defendants further speculate that perhaps BBVA’s “refus[al] to approve” outside offers to

buy Nobilis or generalized difficulties in the industry contributed to Nobilis’s difficulties.66 These

arguments are supported by little more than conjecture—for instance, there are no specifics

provided concerning BBVA’s reasons for not approving particular offers or whether those reasons

were justified,67 and there are no specifics provided to substantiate the idea that other companies




66
        Fleming Br. [D.I. 182] at p. 46; Officer Defs. Br. [D.I. 214] at p. 41.
67
        The testimony cited by the Officer Defendants suggests that Nobilis’s management was
eager to rush through a transaction before providing all of the information necessary for BBVA’s
approval. See Officer Defs. Appendix [D.I. 215] at Ex. A-8, at p. 128 (Wiggins: “[BBVA] would
want more information and . . . I’m not saying they didn’t deserve more, but they would say we
need more information. Our side was is it takes time to get that information and we’re running out
of time here.”). Fleming testified that, with respect to the potential Trive Capital deal, the
Company’s “deteriorating revenues” and possible inability to stay afloat for another 60-90 days
until closing were a major sticking point in the ability to close the deal. See id. at Ex. A-12, at pp.
17-18.
                                                  82
               Case 21-51183-CTG        Doc 221       Filed 11/06/23    Page 89 of 90




in Nobilis’s industry suffered a comparable collapse during the relevant time period.68 Even if

these factors were substantiated, disputes concerning the extent to which they contributed to

Nobilis’s demise or can be causally linked to Nobilis’s damages would be for the factfinder to

decide.

          Finally, the Officer Defendants’ argument that Nobilis benefitted from having materially

misstated financial statements fails as a matter of law. “‘[A]s a matter of law . . . a knowing,

secretive, fraudulent misstatement of corporate financial information’ is not ‘of benefit to a

company.’”       Off. Comm. of Unsecured of Allegheny Health, Educ. & Rsch. Found. v.

PricewaterhouseCoopers, LLP, 607 F.3d 346, 355 (3d Cir. 2010) (quoting Off. Comm. of

Unsecured Creditors of Allegheny Health Educ. & Rsch. Found. v. PriceWaterhouseCoopers,

LLP, 989 A.2d 313, 338 (Pa. 2010)) (applying Pennsylvania law, in context of in pari delicto

defense). The fact that materially misstated financial statements caused a temporary and illusory

inflation in Nobilis’s revenue figures does nothing to negate the massive losses that followed.

          Furthermore, with respect to Devor’s conclusions concerning causation and damages, it is

well established that criticisms of the facts relied on by an expert in reaching a conclusion are

properly the subject of cross examination—not a basis to exclude testimony entirely or grant

summary judgment for the opposing party. “Determinations regarding the weight to be accorded,

and the sufficiency of, the evidence relied upon by the proffered expert are within the sole province

of the jury.” Robinson, 326 F. Supp. 2d at 649 (quoting Walker v. Gordon, 46 F. App’x 691, 695

(3d Cir. 2002)). Thus, insofar as Defendants criticize Devor for not affording greater weight to

certain facts or documents, they are free to cross-examine Devor on those issues at trial but they



68

                                                                       See Opp. App. Ex. 116, at pp.
8-9; see also Opp. App. Ex. 86 (Devor Rebuttal Report), at ¶ 23.
                                                 83
            Case 21-51183-CTG           Doc 221      Filed 11/06/23    Page 90 of 90




are not entitled to summary judgment.

       Because Defendants’ “alternative cause” arguments merely highlight the existence of

disputed issues of fact, their Motions should be denied.

V.     CONCLUSION

       Plaintiff respectfully submits that Defendants’ Motions should be denied.



                                             Respectfully submitted,
Dated: November 6, 2023
Wilmington, Delaware                         COZEN O’CONNOR


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                                                84
